Case 8:24-ap-01001-SC    Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59        Desc
                         Main Document    Page 1 of 45



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12   Special Counsel to Richard A. Marshack,
     Chapter 11 Trustee
13
                        UNITED STATES BANKRUPTCY COURT
14
         CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
15
     In re:                                        Case No. 8:23-bk-10571-SC
16
     THE LITIGATION PRACTICE                       Chapter 11
17   GROUP P.C.,
                                                   Adv. Proc. No. ______________
18            Debtor.
19                                                 COMPLAINT FOR:

20   RICHARD A. MARSHACK,                          (1) AVOIDANCE, RECOVERY, AND
     Chapter 11 Trustee,                           PRESERVATION OF 2-YEAR
21                                                 ACTUAL FRAUDULENT
                              Plaintiff,           TRANSFERS;
22
                         v.                        (2) AVOIDANCE, RECOVERY, AND
23                                                 PRESERVATION OF 2-YEAR
     LEUCADIA ENTERPRISES, INC,                    CONSTRUCTIVE FRAUDULENT
24                                                 TRANSFERS;
                              Defendant.
25                                                 (3) AVOIDANCE, RECOVERY, AND
                                                   PRESERVATION OF 4-YEAR
26                                                 ACTUAL FRAUDULENT
                                                   TRANSFERS;
27
                                                   (4) AVOIDANCE, RECOVERY, AND
28                                                 PRESERVATION OF 4-YEAR


                                               1
Case 8:24-ap-01001-SC     Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59       Desc
                          Main Document    Page 2 of 45


                                                   CONSTRUCTIVE FRAUDULENT
 1                                                 TRANSFERS;
 2                                                 (5) AVOIDANCE, RECOVERY AND
                                                   PRESERVATION OF
 3                                                 PREFERENTIAL TRANSFER MADE
                                                   WITHIN NINETY DAYS OF THE
 4                                                 PETITION DATE; AND
 5                                                 (6) TURNOVER
 6

 7
                                                   Judge: Hon. Scott C. Clarkson
 8

 9
10         For his Complaint for (1) Avoidance, Recovery, and Preservation of 2-Year
11   Actual Fraudulent Transfers; (2) Avoidance, Recovery, and Preservation of 2-Year
12   Constructive Fraudulent Transfers; (3) Avoidance, Recovery, and Preservation of 4-
13   Year Actual Fraudulent Transfers; (4) Avoidance, Recovery, and Preservation of 4-
14   Year Constructive Fraudulent Transfers; (5) Avoidance, Recovery, and Preservation
15   of Preferential Transfer; and (6) Turnover (“Complaint”), plaintiff Richard A.
16   Marshack, the Chapter 11 Trustee (“Trustee” or “Plaintiff”) for the bankruptcy estate
17   (“Estate”) of debtor The Litigation Practice Group P.C. (“Debtor” or “LPG”) in the
18   above-captioned bankruptcy case (“Bankruptcy Case”), alleges and avers as follows:
19

20      STATEMENT OF JURISDICTION, NATURE OF PROCEEDING, AND
21                                            VENUE
22          1.   This Court has jurisdiction over this action pursuant to 28 U.S.C. §§
23   157(b)(2)(A), (E), (H) and (O), 1334(b), and General Order No. 13-05 of the District
24   Court for the Central District of California because this is a core proceeding arising
25   in and/or related to the Bankruptcy Case, which is a case under Chapter 11 of Title
26   11 of the United States Code (“Bankruptcy Code”), and which is pending in the
27   United States Bankruptcy Court for the Central District of California, Santa Ana
28   Division (“Bankruptcy Court”).


                                               2
Case 8:24-ap-01001-SC      Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59       Desc
                           Main Document    Page 3 of 45



 1          2.    Regardless of whether this proceeding is core, non-core, or otherwise,
 2   Plaintiff consents to the entry of a final order and judgment by the Bankruptcy Court.
 3          3.    Defendant is notified that Rule 7008 of the Federal Rules of Bankruptcy
 4   Procedure requires defendant to plead whether consent is given to the entry of a final
 5   order and judgment by the Bankruptcy Court.
 6          4.    Venue of this adversary proceeding properly lies in this judicial district
 7   pursuant to 28 U.S.C. § 1409(a) because this proceeding is related to Debtor’s pending
 8   Bankruptcy Case.
 9                                      THE PARTIES
10         5.     Plaintiff Richard A. Marshack is the duly appointed, qualified, and acting
11   Chapter 11 Trustee of Debtor’s Estate.
12         6.     Debtor is, and at all material times was, a professional corporation
13   organized, existing, and in good standing under the laws of the State of California,
14   with its principal place of business in Tustin, California.
15         7.     Defendant Leucadia Enterprises, Inc. (“Defendant”) is, and at all
16   material times represented that it was, a limited liability company, existing, and under
17   the laws of the State of California.
18         8.     Defendant may be served by first class mail postage prepaid upon its
19   registered agent Joyce Yi or Sandra Menjivar at 101 N Brand Blvd., 11th Floor
20   Glendale, California 91203.
21                               GENERAL ALLEGATIONS
22         A.     The Bankruptcy Case
23         9.     On March 20, 2023 (the “Petition Date”), Debtor filed a voluntary
24   petition for relief under Chapter 11 of the Bankruptcy Code, commencing the
25   Bankruptcy Case.
26         10.    The Office of the United States Trustee (“UST”) filed its Motion by
27   United States Trustee to Dismiss or Convert Case Pursuant to 11 U.S.C. § 1112(b)
28   [Bankr. Docket No. 21] and creditors Debt Validation Fund II, LLC; MC DVI Fund

                                                3
Case 8:24-ap-01001-SC        Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59           Desc
                             Main Document    Page 4 of 45



 1   1, LLC; and MC DVI Fund 2, LLC filed the Motion by DVF and MC DVI to Dismiss
 2   Chapter 11 Case Pursuant to 11 U.S.C. §§ 105, 305, 349, & 1112, or in the
 3   Alternative Convert This Case to Chapter 7 or Appoint a Trustee [Bankr. Docket No.
 4   44]. On May 4, 2023, the Court entered its Order Directing United States Trustee to
 5   Appoint Chapter 11 Trustee [Bankr. Docket No. 58].
 6           11.   Pursuant to the Acceptance of Appointment as Chapter 11 Trustee
 7   [Bankr. Docket No. 63], on May 8, 2023, Trustee accepted his appointment as the
 8   Chapter 11 Trustee in the Bankruptcy Case, and he continues to serve in this capacity
 9   at this time. The Court approved the Trustee’s appointment in its Order Approving
10   the U.S. Trustee’s Application for the Appointment of a Chapter 11 Trustee [Docket
11   No. 65].
12           12.   Trustee was not appointed until after events of the case and, therefore,
13   bases these allegations on information and belief. Soo Park v. Thompson, 851 F.3d
14   910, 928 (9th Cir. 2017) ("The Twombly plausibility standard . . . does not prevent a
15   plaintiff from pleading facts alleged upon information and belief where the facts are
16   peculiarly within the possession and control of the defendant or where the belief is
17   based    on   factual    information   that       makes   the   inference   of    culpability
18   plausible."); Miller v. City of Los Angeles, 2014 U.S. Dist. LEXIS 198871, 2014 WL
19   12610195, at *5 (C.D. Cal. Aug. 7, 2014) (recognizing that the plaintiff's "information
20   and belief" pleading was allowed and "necessary at times"); see also Mireskandari v.
21   Daily Mail and General Trust PLC, 2013 U.S. Dist. LEXIS 194437, 2013 WL
22   12129642, at *4 (C.D. Cal. July 31, 2013) ("The Federal Rules of Civil Procedure
23   allow parties to plead facts on 'information and belief' if the facts 'will likely have
24   evidentiary support after a reasonable opportunity for further investigation or
25   discovery.'" (citations omitted)).
26           13.   Plaintiff brings this action solely in his capacity as the Chapter 11 Trustee
27   for the benefit of Debtor’s Estate and its creditors.
28   ///

                                                   4
Case 8:24-ap-01001-SC     Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59       Desc
                          Main Document    Page 5 of 45



 1          B.    LPG
 2          14.   LPG operated a law firm for consumers across the country who sought
 3   assistance in contesting or resolving debts they would identify.
 4          15.   The consumers would pay LPG over a period of time via monthly debits
 5   from their bank accounts.
 6          16.   The monthly payments were meant to cover all legal services LPG
 7   provided to the consumers including validation of the debts, review of documents to
 8   determine enforceability, and court appearances to halt lawsuits to obtain judgments.
 9          17.   In certain instances, LPG would file a lawsuit in an effort to eliminate a
10   disputed debt or to prosecute affirmative claims held by the consumers.
11          18.   LPG mismanaged the consumers’ monthly payments.
12          19.   To obtain consumer clients to represent, LPG contracted with marketing
13   companies, who engaged in illegal capping.
14          20.   The marketing companies would advertise to or call to solicit them to
15   become clients of LPG.
16          21.   The marketing affiliate went so far as to assist with the execution of an
17   engagement letter between the consumer and LPG.
18          22.   In exchange, LPG agreed to pay the marketing affiliates a percentage the
19   monthly payments made by the consumers.
20          23.   Because LPG received payments from consumers over time, it often
21   sought financing by borrowing against its future cash flows. This borrowing was not
22   only used to finance operations at LPG, but also to pay the fees owed to the marketing
23   companies for providing the client referrals.
24          24.   Many of the documents executed in connection with such financing
25   described the transactions as account receivable purchase agreements.
26          C.    Defendant
27          25.   Defendant was one of the marketing companies that procured clients for
28   LPG.

                                               5
Case 8:24-ap-01001-SC     Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59        Desc
                          Main Document    Page 6 of 45



 1         26.    LPG agreed to pay, and in fact paid, Defendant a portion of the monthly
 2   payments received from consumers referred by Defendant.
 3         27.    Defendant also entered into agreements pursuant to which it purported
 4   to purchase accounts receivable from LPG. Pursuant to these agreements, Debtor
 5   purported to sell to Defendant a portion of its income stream.
 6                i.    Affiliate Agreement
 7         28.    Based upon the Trustee’s review of the banking transactions between
 8   Defendant and Debtor, Debtor entered into an affiliate agreement with Defendant
 9   (“Affiliate Agreement”). A true and accurate copy of the summary of the banking
10   transaction history is attached hereto as Exhibit 1 and incorporated here (“Transaction
11   History”).
12         29.    Based upon the Trustee’s review of the Transaction History, the Affiliate
13   Agreement provides Defendant owns and operates a system of generating leads
14   consisting of consumers interested in the legal services offered by LPG.
15         30.    Pursuant to the Affiliate Agreement, Defendant generated leads
16   consisting of consumers interested in the legal services offered by LPG and referred
17   those consumers to Debtor.
18         31.    Defendant went so far as to assist with the execution of an engagement
19   letter with the consumer.
20         32.    In exchange for the referrals, Debtor paid Defendant on a weekly basis.
21   See Transaction History.
22         33.    The Affiliate Agreement violates Sections 6151 and 6155 of the
23   California Business and Professional Code, which prohibit referrals of potential
24   clients to attorneys unless registered with the State Bar of California. CAL. BUS. &
25   PROF. CODE § 6155. “Referral activity” includes “any entity ‘which, in person,
26   electronically, or otherwise, refers the consumer to an attorney or law firm not
27   identified’ in the advertising.” Jackson v. LegalMatch.com, 42 Cal. App. 5th 760, 775
28   (2019). A referral includes receiving information from potential clients and sending

                                               6
Case 8:24-ap-01001-SC         Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59       Desc
                              Main Document    Page 7 of 45



 1   that information to lawyers, even when the advertiser does not advertise the name of
 2   the attorneys and the clients do not clear the name of the potential attorney after the
 3   referral occurred. Id.
 4         34.    Further, if any effect of an agreement is to accomplish an unlawful
 5   purpose, the agreement may be declared illegal regardless of the intention of the
 6   parties. Stockton Morris Plan Co. v. Cal. Tractor & Equip. Corp., 112 Cal. App. 2d
 7   684, 690 (1952) (citing Fewel & Dawes, Inc. v. Pratt, 17 Cal. 2d 85, 91 (1941)). This
 8   remains true regardless of whether the contract has been performed. Stevens v. Boyes
 9   Hot Springs Co., 113 Cal. App. 479 (1931) (A contract by a corporation to purchase
10   its own stock has the effect of illegally withdrawing and paying to a stockholder a
11   part of the capital stock of the corporation and is illegal and void, regardless of the
12   fact that the contract is fully performed by the sellers and partially performed by the
13   corporation.); Mansfield v. Hyde, 112 Cal. App. 2d 133 (1952), overruled, Fomco,
14   Inc. v. Joe Maggio, Inc., 8 Cal. Rptr. 459 (1960) (Where object of statute requiring
15   licenses is to prevent improper persons from engaging in particular activity, or is for
16   purpose of regulating occupation or business for protection of public, imposition of
17   penalty amounts to prohibition against engaging in occupation or business without
18   license, and contract made by unlicensed person in violation of statute is
19   invalid.); Firpo v. Murphy, 72 Cal. App. 249 (1925) (A contract to pay commissions
20   to a real estate broker is illegal and he is not entitled to recover thereon where he fails
21   to secure the license required by law to carry on his business.).
22         35.    Because the Affiliate Agreements violates federal and state law, it is
23   void, unenforceable, and subject to avoidance as fraudulent. Any alleged
24   consideration provided to Debtor under the ARPA Agreement was unlawful.
25         36.     Unlawful consideration is that which is “(1) contrary to an express
26   provision of law; (2) contrary to the policy of express law, though not expressly
27   prohibited; or (3) otherwise contrary to good morals.” Cal. Civ. Code § 1667. “If any
28


                                                 7
Case 8:24-ap-01001-SC      Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59       Desc
                           Main Document    Page 8 of 45



 1   part of a single consideration for one or more objects, or of several considerations for
 2   a single object, is unlawful, the entire contract is void.” Cal. Civ. Code § 1608.
 3                 ii. Account Receivable Purchase Agreements
 4         37.     On or about February 28, 2023, Defendant entered into an Account
 5   Receivable Purchase Agreement with Debtor (“ARPA”). A true and accurate copy of
 6   ARPA is attached hereto as Exhibit 2 and incorporated here.
 7         38.     ARPA are referred to collectively hereinafter as the “ARPA
 8   Agreement.”
 9         39.     Pursuant to the ARPA Agreement, Debtor purported to sell Defendant
10   streams of monthly payments from consumers that were supposed to be held in trust
11   until earned. See Ex. 2-5.
12         40.     By entering into the ARPA Agreement, Debtor and Defendant violated
13   federal and state laws by selling unearned legal fees or funds there were supposed to
14   be held in trust or used for the benefit of consumers. See Ex. 2-5
15         41.     The effect of the ARPA Agreement was to accomplish an unlawful
16   purpose, the agreement may be declared illegal regardless of the intention of the
17   parties. Stockton Morris Plan Co. v. Cal. Tractor & Equip. Corp., 112 Cal. App. 2d
18   684, 690 (1952) (citing Fewel & Dawes, Inc. v. Pratt, 17 Cal. 2d 85, 91 (1941)). This
19   remains true regardless of whether the contract has been performed. Stevens v. Boyes
20   Hot Springs Co., 113 Cal. App. 479 (1931) (A contract by a corporation to purchase
21   its own stock has the effect of illegally withdrawing and paying to a stockholder a
22   part of the capital stock of the corporation and is illegal and void, regardless of the
23   fact that the contract is fully performed by the sellers and partially performed by the
24   corporation.); Mansfield v. Hyde, 112 Cal. App. 2d 133 (1952), overruled, Fomco,
25   Inc. v. Joe Maggio, Inc., 8 Cal. Rptr. 459 (1960) (Where object of statute requiring
26   licenses is to prevent improper persons from engaging in particular activity, or is for
27   purpose of regulating occupation or business for protection of public, imposition of
28   penalty amounts to prohibition against engaging in occupation or business without

                                                8
Case 8:24-ap-01001-SC      Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59          Desc
                           Main Document    Page 9 of 45



 1   license, and contract made by unlicensed person in violation of statute is
 2   invalid.); Firpo v. Murphy, 72 Cal. App. 249 (1925) (A contract to pay commissions
 3   to a real estate broker is illegal and he is not entitled to recover thereon where he fails
 4   to secure the license required by law to carry on his business.).
 5         42.    Because the ARPA Agreement violates federal and state laws, it is void,
 6   unenforceable, and subject to avoidance as fraudulent. Any alleged consideration
 7   provided to Debtor under the ARPA Agreement was unlawful.
 8         43.     Unlawful consideration is that which is “(1) contrary to an express
 9   provision of law; (2) contrary to the policy of express law, though not expressly
10   prohibited; or (3) otherwise contrary to good morals.” Cal. Civ. Code § 1667. “If any
11   part of a single consideration for one or more objects, or of several considerations for
12   a single object, is unlawful, the entire contract is void.” Cal. Civ. Code § 1608.
13                iii.   Preference Letter
14         44.    On or about September 15, 2023, the Trustee sent a preference letter to
15   Defendant (the “Preference Letter”). A true and accurate copy of the Preference Letter
16   is attached hereto as Exhibit 3 and incorporated here.
17         45.    The Preference Letter discussed certain transfers from Debtor that were
18   made to Defendant within the 90-day period prior to the Petition Date. The transfers
19   were listed on the attached “Preference Transfer Schedule” showing the date and
20   amount, according to Debtor’s books and records, of each transfer or other payment.
21   The Trustee requested payment of the total amount due under the “Preference
22   Transfer Schedule” that amounted to $233,818.39, in exchange for a waiver and
23   release from all claims that could be asserted by the Trustee against Defendant
24   pursuant to 11 U.S.C. §§ 547 and 550.
25         46.    The Trustee has yet to receive any payment from Defendant pursuant to
26   the “Preference Transfer Schedule.”
27   ///
28   ///

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Case 8:24-ap-01001-SC       Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59               Desc
                            Main Document    Page 10 of 45



 1          D.     Payments to Defendant
 2          47.    During the applicable reach back-period, Debtor paid Defendant the sum
 3   of at least $1,468,018.19 (“Transfers”). See Ex. 1.
 4          E.     LPG’s Prepetition Creditors
 5          48.    Debtor was insolvent when each Transfer was made. This insolvency is
 6   evidenced in part by the fact that 14 separate UCC-1 statements were of record
 7   securing debts of the Debtor as of September 1, 2022. These statements remained
 8   unreleased as of the Petition Date. These statements either reflected secured liens
 9   against the Debtor’s assets then owned or thereafter acquired, or provided evidence
10   of the assignment or sale of substantial portions of the Debtor’s future income.
11          49.    When the Transfers were made, these prior UCC-1 statements secured
12   the repayment of the following claimed amounts that are currently known to Trustee
13   and are allegedly owed by the Debtor: (i) $2,374,004.82 owed to Fundura Capital
14   Group as evidenced by Proof of Claim No. 335 purportedly secured by a UCC
15   statement filed on or about May 19, 2021; (ii) approximately $15 million dollars owed
16   to MNS Funding, LLC as evidenced by Proof of Claim No. 1060 purportedly secured
17   by a UCC statement filed on or about May 28, 2021; (iii) approximately $5,000,000
18   owed to Azzure Capital, LLC as evidenced by Proof of Claim No. 127 secured by a
19   UCC statement filed on or about May 28, 2021; and (iv) approximately $1.5 million
20   dollars owed to Diverse Capital, LLC purportedly secured by UCC statements filed
21   on or about September 15, 2021, and December 1, 2021.[1]
22          50.    As alleged above, LPG was borrowing against its assets and future
23   income, often on unfavorable terms, not only to finance operations at LPG, but also
24   to pay the fees owed to the marketing affiliates for providing it with consumer clients.
25   Pursuant to the agreements with the marketing companies, significant percentages of
26   future payments were already promised to be paid to the marketing affiliates from
27
     [1]
28      Trustee reserves all rights, claims, and defenses with respect to these and any other purported
     secured or unsecured claims.

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Case 8:24-ap-01001-SC    Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59      Desc
                         Main Document    Page 11 of 45



 1   whatever future income the Debtor would receive.
 2         51.   In addition, on Debtor’s Schedule E/F [Bankr. Docket No. 33], Debtor
 3   scheduled 11 unsecured creditors with priority unsecured claims totaling
 4   $374,060.04. These priority unsecured creditors include Indiana Dept. of Revenue,
 5   Dept. of Labor and Industries, Arizona Dept. of Economic Security, Arkansas Dept.
 6   of Finance & Admin., California Franchise Tax Board, Georgia Dept. of Labor,
 7   Internal Revenue Service, Mississippi Dept. of Revenue, Nevada Dept. of Taxation,
 8   Utah State Tax Commission, and Wisconsin Dept. of Revenue (collectively, “Priority
 9   Unsecured Creditors”).
10         52.   Another group of creditors that Debtor listed on its Schedule E/F [Bankr.
11   Docket No. 33] are nonpriority unsecured creditors. Those 58 creditors have
12   scheduled claims totaling $141,439,158.05 and include Ajilon; Anthem Blue Cross;
13   Azevedo Solutions Groups, Inc.; Carolina Technologies & Consulting Invoice;
14   Collaboration Advisors; Credit Reporting Service Inc.; CT Corporation – Inv.; Debt
15   Pay Pro; Document Fulfillment Services; EnergyCare, LLC; Exela Enterprise
16   Solutions; First Legal Network, LLC; GHA Technologies Inc.; Harrington Electric,
17   Inc.; Imagine Reporting; Juize, Inc.; Krisp Technologies, Inc.; Liberty Mutual; Marc
18   Lemauviel – Allegra; MarkSYS Holdings, LLC; Netsuite-Oracle; Pitney Bowes;
19   Rapid Credit, Inc.; SBS Leasing A Program of De Lage Landen; Security Solutions;
20   Sharp Business Systems; Streamline Performance, Inc.; Thomson Reuters; Twilio,
21   Inc.; Nationwide Appearance Attorneys; Executive Center, LLC; Outsource
22   Accelerator, Ltd.; TaskUs Holdings, Inc.; Marich Bein, LLC; Validation Partners;
23   MC DVI Fund 1, LLC; MC DVI Fund 2, LLC; Debt Validation Fund II, LLC; Tustin
24   Executive Center; LexisNexus; JP Morgan Chase; Business Centers of America;
25   Michael Schwartz; Anibal Colon Jr.; Kathleen Lacey; David Ulery; Kimberly
26   Birdsong; Kevin Carpenter; Karen Suell; Gloria Eaton; Carolyn Beech; Debra Price;
27   Kenneth Topp; Darcey Williamson, Trustee; James Hammett; Johnny Rizo; Beverly
28   Graham; Kathleen Scarlett; and Geneve and Myranda Sheffield (collectively, the

                                             11
Case 8:24-ap-01001-SC     Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59       Desc
                          Main Document    Page 12 of 45



 1   “Nonpriority Unsecured Creditors” and, together with the Secured Creditors and
 2   Priority Unsecured Creditors, the “Prepetition Creditors”).
 3                              FIRST CLAIM FOR RELIEF
 4       Count I - Avoidance, Recovery, and Preservation of Actual Fraudulent
 5                                              Transfers
 6                        [11 U.S.C. §§ 548(a)(1)(A), 550, and 551]
 7         53.    Plaintiff realleges and incorporates here by reference each and every
 8   allegation contained in paragraphs 1 through 52 as though set forth in full.
 9         54.    The Transfers happened while Debtor was insolvent or rendered Debtor
10   insolvent.
11         55.    Despite Debtor’s obligation to the Prepetition Creditors, Debtor
12   continued to pay Defendant sums received from consumers under the Affiliate
13   Agreement, which constitutes an illegal capping agreement between Defendant and
14   Debtor, in order to continue to receive additional consumer referrals. Any obligation
15   of the Debtor arising from such agreement is also avoidable as fraudulent.
16         56.    Despite Debtor’s obligation to the Prepetition Creditors, Debtor
17   continued to sell or transfer portions of its accounts receivable to Defendant, which
18   is illegal under federal and state laws.
19         57.    Because the referrals from Defendant to Debtor are illegal under federal
20   and state law, they are void. Moreover, any purported consideration and constitutes
21   unlawful consideration, which cannot constitute reasonably equivalent value. Thus,
22   at the time the agreements were executed and the Transfers, Debtor received less
23   than reasonably equivalent value.
24         58.    The Affiliate Agreement, ARPA Agreement, and the Transfers of
25   Debtor’s funds are avoidable as fraudulent pursuant to 11 U.S.C. §§ 548(a)(1)(A),
26   550, and 551 by one or more creditors who held and hold unsecured claims against
27   Debtor that were and are allowable against his Estate under 11 U.S.C. § 502 or that
28   were not and are not allowable only under 11 U.S.C. § 502(e), including, without

                                                12
Case 8:24-ap-01001-SC     Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59       Desc
                          Main Document    Page 13 of 45



 1   limitation, the Prepetition Creditors.
 2         59.    The Affiliate Agreement, ARPA Agreement, and Transfers should be
 3   avoided as fraudulent under 11 U.S.C. § 548(a)(1)(A), and such transferred property,
 4   or the value thereof, should be recovered and preserved for the benefit of the Estate
 5   pursuant to 11 U.S.C. §§ 550 and 551.
 6                            SECOND CLAIM FOR RELIEF
 7    Avoidance, Recovery, and Preservation of Constructive Fraudulent Transfers
 8                                     Against Defendant
 9                        [11 U.S.C. §§ 548(a)(1)(B), 550, and 551]
10         60.    Plaintiff realleges and incorporates here by reference each and every
11   allegation contained in paragraphs 1 through 52 as though set forth in full.
12         61.    The Affiliate Agreement, ARPA Agreement, and all or a portion of the
13   Transfers occurred within the two years prior to the Petition Date.
14         62.    On or after the date that such agreements were executed and such
15   Transfers were made, entities to which Debtor was or became indebted include the
16   Prepetition Creditors.
17         63.    The Transfers happened while Debtor:
18                a. was insolvent or became insolvent was a result;
19                b. was engaged or was about to engage in a transaction for which any
20                   property remaining with Debtor was of unreasonably small capital;
21                   or
22                c. intended to incur, or believed that it would incur, debts beyond it
23                   ability to pay as such debts matured.
24         64.     Because the referrals from Defendant to Debtor are illegal under
25   federal and state law, they are void and subject to avoidance as fraudulent. Any
26   purported consideration constitutes unlawful consideration, which cannot constitute
27   reasonably equivalent value. Thus, at the time the agreements were executed and the
28   Transfers made, Debtor received less than reasonably equivalent value.

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Case 8:24-ap-01001-SC     Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59       Desc
                          Main Document    Page 14 of 45



 1         65.    Because the sale of the accounts receivable from Debtor to Defendant
 2   are illegal under federal and state law, they are void and subject to avoidance as
 3   fraudulent. Any purported consideration constitutes unlawful consideration, which
 4   cannot constitute reasonably equivalent value. Thus, at the time agreements were
 5   executed and the Transfers, Debtor received less than reasonably equivalent.
 6         66.    The Affiliate Agreement, ARPA Agreement, and the Transfers should
 7   be avoided as fraudulent under 11 U.S.C. § 548(a)(1)(B), and such transferred
 8   property, or the value thereof, should be recovered and preserved for the benefit of
 9   the Estate pursuant to 11 U.S.C. §§ 550 and 551.
10                             THIRD CLAIM FOR RELIEF
11       Avoidance, Recovery, and Preservation of Actual Fraudulent Transfers
12                                    Against Defendant
13   [11 U.S.C. §§ 544(b), 550, and 551; CAL. CIV. CODE §§ 3439.04(a) and 3439.07]
14         67.    Plaintiff realleges and incorporates herein by reference each and every
15   allegation contained in paragraphs 1 through 52 as though set forth in full.
16         68.    The Affiliate Agreement, ARPA Agreement, and all or a portion of the
17   Transfers occurred within the four years prior to the Petition Date.
18         69.    On or after the date that such agreements were entered and such
19   Transfers were made, entities to which Debtor was or became indebted include the
20   Prepetition Creditors.
21         70.    Despite Debtor’s obligation to the Prepetition Creditors, Debtor
22   continued to pay Defendant sums received from consumers under the Affiliate
23   Agreement, which constitutes an illegal capping agreement between Defendant and
24   Debtor.
25         71.    Because the referrals from Defendant to Debtor are illegal under federal
26   and state law, they are void and subject to avoidance as fraudulent. Any purported
27   consideration constitutes unlawful consideration, which cannot constitute reasonably
28   equivalent value. Thus, at the time the agreements were executed and the Transfers

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Case 8:24-ap-01001-SC     Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59        Desc
                          Main Document    Page 15 of 45



 1   made, Debtor received less than reasonably equivalent value.
 2         72.    Despite Debtor’s obligation to the Prepetition Creditors, Debtor
 3   continued to sell its accounts receivable to Defendant, which is illegal under federal
 4   and state law. Because they are illegal under federal and state law, they are void and
 5   subject to avoidance as fraudulent. Any purported consideration constitutes unlawful
 6   consideration, which cannot constitute reasonably equivalent value. Thus, at the time
 7   the agreements were executed and the Transfers made, Debtor received less than
 8   reasonably equivalent value.
 9         73.    The Affiliate Agreement, the ARPA Agreement, and the Transfers of
10   Debtor’s funds are avoidable as fraudulent pursuant to 11 U.S.C. § 544(b) and CAL.
11   CIV. CODE §§ 3439.04(a) and 3439.07 by one or more creditors who held and hold
12   unsecured claims against Debtor that were and are allowable against his Estate under
13   11 U.S.C. § 502 or that were not and are not allowable only under 11 U.S.C. § 502(e),
14   including, without limitation, the Prepetition Creditors.
15         74.    Accordingly, the Affiliate Agreement, the ARPA Agreement, and the
16   Transfers should be avoided as fraudulent under 11 U.S.C. §§ 544(b) and CAL. CIV.
17   CODE §§ 3439.04(a) and 3439.07, and such property, or the value thereof, should be
18   recovered and preserved for the benefit of the Estate pursuant to 11 U.S.C. §§ 550
19   and 551 and CAL. CIV. CODE § 3439.07.
20

21                            FOURTH CLAIM FOR RELIEF
22    Avoidance, Recovery, and Preservation of Constructive Fraudulent Transfers
23                                    Against Defendant
24    [11 U.S.C. §§ 544(b), 550, and 551; CAL. CIV. CODE §§ 3439.05, and 3439.07]
25         75.    Plaintiff realleges and incorporates herein by reference each and every
26   allegation contained in paragraphs 1 through 52 as though set forth in full.
27         76.    The Affiliate Agreement, the ARPA Agreement, and all or a portion of
28   the Transfers occurred within the four years prior to the Petition Date.

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Case 8:24-ap-01001-SC       Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59     Desc
                            Main Document    Page 16 of 45



 1            77.   The Transfers happened while Debtor:
 2                  d. was insolvent or became insolvent as a result;
 3                  e. was engaged or was about to engage in a transaction for which any
 4                     property remaining with Debtor was of unreasonably small capital;
 5                     or
 6                  f. intended to incur, or believed that it would incur, debts beyond it
 7                     ability to pay as such debts matured.
 8            78.   Because the referrals from Defendant to Debtor are illegal under
 9   federal and state law, the agreements are void and subject to avoidance as fraudulent.
10   Any purported consideration constitutes unlawful consideration, which cannot
11   constitute reasonably equivalent value. Thus, at the time the agreements were
12   executed and the Transfers made, Debtor received less than reasonably equivalent
13   value.
14            79.   Because the sale of the accounts receivable from Debtor to Defendant
15   are illegal under federal and state law, they are void and constitute unlawful
16   consideration, which cannot constitute reasonably equivalent value. Thus, at the time
17   the agreements were executed and the Transfers made, Debtor received less than
18   reasonably equivalent value
19            80.   The Transfers of Debtor’s trust funds are avoidable as fraudulent
20   pursuant to 11 U.S.C. § 544(b) and CAL. CIV. CODE §§ 3439.05 and 3439.07 by one
21   or more creditors who held and hold unsecured claims against Debtor that were and
22   are allowable against his Estate under 11 U.S.C. § 502 or that were not and are not
23   allowable only under 11 U.S.C. § 502(e), including, without limitation, the
24   Prepetition Creditors.
25            81.   Accordingly, the Affiliate Agreement, the ARPA Agreement, and the
26   Transfers should be avoided as fraudulent under 11 U.S.C. §§ 544(b) and CAL. CIV.
27   CODE §§ 3439.05 and 3439.07, and such transferred property, or the value thereof,
28   should be recovered and preserved for the benefit of the Estate pursuant to 11 U.S.C.

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Case 8:24-ap-01001-SC     Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59       Desc
                          Main Document    Page 17 of 45



 1   §§ 550 and 551 and CAL. CIV. CODE § 3439.07.
 2                             FIFTH CLAIM FOR RELIEF
 3    Avoidance, Recovery, and Preservation of Preferential Transfer to Defendant
 4                                     in Preference Period
 5                             [11 U.S.C. §§ 547, 550, and 551]
 6           82.   The Plaintiff realleges and incorporates here by reference each and
 7   every allegation contained in paragraphs 1 through 52 as though set forth in full.
 8           83.   $76,961.27 of the Transfers from Debtor to Defendant occurred during
 9   the 90 day preference period (“Preference Transfers”). See Exhibit 4 and incorporated
10   here.
11           84.   The Preference Transfers was made for, or on account of, an antecedent
12   debt or debts owed by the LPG to Defendant, each of which constituted a “debt” or
13   “claim” (as those terms are defined in the Bankruptcy Code) of Defendant.
14           85.   The Preference Transfers happened while LPG was insolvent.
15           86.   Debtor is also entitled to the presumption of insolvency when the
16   Preference Transfers happened pursuant to 11 U.S.C. § 547(f).
17           87.   As a result of the Preference Transfers, Defendant recovered more than
18   it would have received if: (i) the Debtor’s case was under chapter 7 of the Bankruptcy
19   Code; (ii) the Preference Transfers had not been made; and (iii) Defendant received
20   payments of its debts under the provisions of the Bankruptcy Code. As evidenced by
21   the Debtor’s schedules filed in the underlying Bankruptcy Case, as well as the proofs
22   of claim that have been received to date, the Debtor’s liabilities exceed its assets to
23   the point that unsecured creditors will not receive a full payout of their claims from
24   the Debtor’s bankruptcy estate.
25           88.   In accordance with the foregoing, the Preference Transfers of the
26   Statement is avoidable pursuant to 11 U.S.C. § 547(b), and may be recovered and
27   preserved for the benefit of the estate pursuant to 11 U.S.C. §§ 550 and 551.
28   ///

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Case 8:24-ap-01001-SC      Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59        Desc
                           Main Document    Page 18 of 45



 1                                  SIXTH CLAIM FOR RELIEF
 2                     Turnover of Estate Property Against Defendant
 3                                     [11 U.S.C. § 542]
 4         89.     Plaintiff realleges and incorporates herein by reference each and every
 5   allegation contained in paragraphs 1 through 52 as though set forth in full.
 6         90.     Defendant has possession or control over property of the Estate in the
 7   form of the Transfers made pursuant to illegal and unenforceable agreements.
 8         91.     The Transfers are not of inconsequential value to the Estate.
 9         92.     The funds that are the subject of the Transfers are paramount to Debtor’s
10   ability to pay creditors.
11         93.     Accordingly, Trustee is entitled to a judgment for turnover of the
12   Transfer pursuant to 11 U.S.C. § 542.
13                               RESERVATION OF RIGHTS
14         94.     Plaintiff reserves the right to bring all other claims or causes of action
15   that Plaintiff may have against Defendant, on any and all grounds, as allowed under
16   the law or in equity, including but not limited to, those claims not known by the
17   Trustee at this time but that he may discover during the pendency of this adversary
18   proceeding.
19                                  PRAYER FOR RELIEF
20         WHEREFORE, Plaintiff prays for a judgment as follows:
21         On The First, Second, Third, and Fourth Claims for Relief:
22         1.      Avoiding, recovering, and preserving the Transfers against
23      Defendant;
24         On the Fifth Claim for Relief:
25         2.      Avoiding, recovering, and preserving the Transfers against
26      Defendant;
27         On the Sixth Claim for Relief:
28         3.      Ordering Defendant to immediately turn over the Transfers;

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Case 8:24-ap-01001-SC   Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59     Desc
                        Main Document    Page 19 of 45



 1       On All Claims for Relief:
 2       4.    Awarding costs of suit incurred herein; and
 3       5.    Granting any other and further relief as the Court deems just and proper.
 4

 5 Dated: January 9, 2024                  Respectfully submitted,
 6

 7
                                           DINSMORE & SHOHL LLP
 8

 9
                                           By: /s/ Sarah S. Mattingly
10                                             Christopher B. Ghio
                                               Christopher Celention
11
                                               Yosina M. Lissebeck
12                                             Sarah S. Mattingly (pro hac vice)
13
                                               Special Counsel to Richard A.
                                                Marshack, Chapter 11 Trustee
14

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Case 8:24-ap-01001-SC   Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59    Desc
                        Main Document    Page 20 of 45



 1                                   EXHIBIT “1”

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In re: The Litigation Practice Group PC
                                                 Case 8:24-ap-01001-SC                  Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59                                                           Desc
                                                                                               Leucadia Enterprises, Inc.
Disbursement Details by Payee                                                           Main Document                 Page 21 of 45
4 Years Pre-Petition (03/20/2019 - 03/20/2023)

Bank Name        Account Name                       Account Number Statement Date Transaction Date Check Number    Debit/Charge    Memo
                                                                                                                                   WT Fed#08821 Bank of America, N /FIr/BnI=Leucadia Enterprises Inc. I# 0000960076856725 Trn#23031
Wells Fargo      Maverick Management Group LLC                          3/31/2023       3/17/2023                         875.43   7183048 RIb#
                                                                                                                                   WIRE TRANS TRN 0227020620 022723 UBOC UB278478N Sent To: BANK OF AMERICA N.A. Beneficiary:
UnionBank        The Litigation Practice Group PC                       2/28/2023       2/27/2023                      21,506.07   1/Leucadia Enterprises Inc.
                                                                                                                                   Fedwire Debit Via: F121000358/121000358 A/C: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ref:
Chase            The Litigation Practice Group PC                       2/28/2023        2/7/2023                      18,287.64   Weekly Disbursement/Time/17:47 lmad: 0207B1Ogc07C031922 Trn: 6647500038Jo
                                                                                                                                   Fedwire Debit Via: F121000358)121000358 NC: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ret:
Chase            The Litigation Practice Group PC                       1/31/2023       1/24/2023                      14,511.81   Weekly Disbursement)Time)15:47 Imed: 012461 Ogc08C032056 Tm: 5652200024Jo
                                                                                                                                   Fedwire Debit Via’ Ft2t000356/121000358 NC: Leucedie Enterprises, Inc. Encinitas, CA, 92024 US Ret:
Chase            The Litigation Practice Group PC                       1/31/2023        1/6/2023                      17,136.20   Weekly Disbursement/Time/14:47 Imad: 0106B1Ogc06C029339 Tm: 47I6200006Jo
                                                                                                                                   Fedwire Debit Vie: F1210003S6/121000358 NC: Leuoedie Enterprises, Inc. Enoinitas, CA, 92024 US Ret:
Chase            The Litigation Practice Group PC                      12/31/2022      12/30/2022                       2,558.44   Weekly Disbursement/Time/14:39 Imad: 123DB 1 OgoD8CD67773 Tm: 5574600364Jo
                                                                                                                                   Fedwire Debit Vie: F121000358/121000358 NC: Leucedie Enterprises, Inc. Enoinitas, CA, 92024 US Ret:
Chase            The Litigation Practice Group PC                      12/31/2022      12/28/2022                      20,373.32   Weekly Disbursement/Time/17:D1 Imad: 1 228B1 QgcD6C02281 7 Tm: 7405700362J0
                                                                                                                                   Fedwire Debit Via: P121000358/121000358 NC: Leucadia Enterprises, Inc. Encinitas, CA, 92024 us Ret
Chase            The Litigation Practice Group PC                      12/31/2022      12/19/2022                      13,938.06   Weekly Disbursement/Time/1T25 Imad 121 9Bi 0gc08C042838 Tm: 8059200353Jo
                                                                                                                                   Fadwira Debit Vie: F121000358/121000358 NC: Leucedie Enterprises, Inc. Encinites, CA, 92024 US Ret:
Chase            The Litigation Practice Group PC                      12/31/2022      12/12/2022                      12,206.24   Weekly Disbursement/Time/17:04 Imed: 121 2B1 QgcO8CO5l 243 Tm: 7780600346Jo
                                                                                                                                   Fedwire Debit Via: F121000356/121000358 NC: Laucadia Enterprises, Inc. Enoinites, CA, 92024 US Ret:
Chase            The Litigation Practice Group PC                      12/31/2022       12/5/2022                      20,978.80   Weekly Disbursement/Time/15:00 Imad: 120581 OgoOl C006405 Tm: 5591 200339Jo
                                                                                                                                   Fedwire Debit Via: F12i000356/12i000358 NC: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ret:
Chase            The Litigation Practice Group PC                      11/30/2022      11/25/2022                      17,032.06   Weekly Disbursement/Time/i7:53 Imad: I l25B1Ogc07C02936l Tm: 4275300329Jo
                                                                                                                                   Fadwira Debit Via: Fl 21000356/121000358 NC: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ret:
Chase            The Litigation Practice Group PC                      11/30/2022      11/25/2022                      12,379.19   Weekly Disbursement/Time/i7:53 Imad: 1 125B1Ogc08C024734 Tm: 4225400329Jo
                                                                                                                                   Fedwire Debit Via: F121000358/121000358 NC: Leucadia Enterprises, Inc. Enoinitas, CA, 92024 US Ret
Chase            The Litigation Practice Group PC                      11/30/2022      11/10/2022                      16,665.67   Weekly Disbursement/Time/17 26 Imad 11 10B1Qgc08C048493 Tm: 805720031 4Jo
                                                                                                                                   Fedwire Debit Vie: F121000358/121000358 NC: Leucadie Enterprises, Inc. Encinitas, CA, 92024 US Ret:
Chase            The Litigation Practice Group PC                      11/30/2022       11/9/2022                      20,662.71   Weekly Disbursement/Time/12:39 Imad: 1 109B1Ogc08C023525 Tm: 421300031 3Jo
                                                                                                                                   Fedwire Debit Via: F121000358/121000358 A/C: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ret:
Chase            The Litigation Practice Group PC                      10/31/2022      10/28/2022                       1,160.22   Weekly Disbursement/Time/i 6:57 Imad: 1 028B1 QgcO6COi 9256 Tm: 7394800301 Jo
                                                                                                                                   Fedwire Debit Via: Fi2i000358/i2i000358 A/C: Leucadia Enterprises, Inc. Encinitas, CA, 92024 us Ret:
Chase            The Litigation Practice Group PC                      10/31/2022      10/21/2022                      13,332.98   Weekly Disbursement/Time/i 4:23 Imad: 1021 BlQgcO8CO2484i Tm: 505i000294Jo
                                                                                                                                   Fedwire Debit Via: Fl 21000358/121000358 A/C: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ref:
Chase            The Litigation Practice Group PC                      10/31/2022      10/14/2022                      19,707.16   Weekly Disbursement/Time/i 3:06 Imad: lOl4BlQgcO8COi i32i Tm: 6293900287Jo
                                                                                                                                   Fedwire Debit Via: F121000358/121000358 NC: Leucadia Enterprises, Inc. Encinitas, CA, 92024 us Ref:
Chase            The Litigation Practice Group PC                      10/31/2022       10/6/2022                      15,602.43   Weekly Disbursement/Time/i 2:30 Imad: 1006B1QgcO1COO66O2 Tm: 4308100279Jo
                                                                                                                                   Fedwire Debit Via: F121000358/121000358 A/C: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ref:
Chase            The Litigation Practice Group PC                      10/31/2022       10/3/2022                      22,956.41   Weekly Disbursement/Time/i 7:25 Imad: 1 003B1 QgcO3CO2i 584 Tm: 8036900276Jo
                                                                                                                                   Fedwire Debit Via: Fi2i000358/i2i000358 A/C: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ref:
Chase            The Litigation Practice Group PC                       9/30/2022       9/23/2022                       7,768.53   Weekly Disbursement/Time/i 1:02 Imad: O923BlQgcO8COi 1081 Tm: 3i02200266Jo
                                                                                                                                   Fedwire Debit Via: Fl 21000358/121000358 A/C: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ref:
Chase            The Litigation Practice Group PC                       9/30/2022       9/19/2022                      23,910.97   Weekly Disbursement/Time/i 1:51 Imad: 091 9B1 Qgc02C005589 Tm: 3594900262Jo
                                                                                                                                   Fedwire Debit Via: F121000358/121000358 A/C: Leucadia Enterprises, Inc. Encinitas, CA, 92024 us Ret:
Chase            The Litigation Practice Group PC                       9/30/2022        9/9/2022                      11,779.42   Weekly Disbursement/Time/i 1:57 mad: 0909B1 Qgc08C006394 Tm: 3434200252Jo
                                                                                                                                   Fedwire Debit Via: Fi2i000358/i2i000358 NC: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ref: Weekly
Chase            The Litigation Practice Group PC                       9/30/2022        9/2/2022                      18,445.96   Disbursement/Time/i i :50 Imad: 0902B1 QgcO4COO7i ii Tm: 3738700245Jo
                                                                                                                                   Fedwire Debit Via: Fi2i000358/i2i000358 A/C: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ref:
Chase            The Litigation Practice Group PC                       8/31/2022       8/26/2022                      18,783.57   Weekly Disbursement/Time/i 3:43 Imad: 0826B1 Qgc04C009842 Tm: 4482900238Jo
                                                                                                                                   Fedwire Debit Via: Fl 21000358/121000358 A/C: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ret:
Chase            The Litigation Practice Group PC                       8/31/2022       8/19/2022                      17,982.46   Weekly Disbursement/Time/i 0:44 Imad: 081 9B1 QgcO8COi 0921 Tm: 2833500231 Jo
                                                                                                                                   Fedwire Debit Via: F121000358/121000358 A/C: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ret:
Chase            The Litigation Practice Group PC                       8/31/2022       8/11/2022                      17,339.40   Weekly Disbursement/Time/i 1:28 Imad: 0811 Bi Qgc02C005903 Tm: 3895500223Jo
                                                                                                                                   Fedwire Debit Via: F121000358/121000358 A/C: Leucadia Enterprises, Inc. Encinitas, CA, 92024 U5 Ref:
Chase            The Litigation Practice Group PC                       8/31/2022        8/5/2022                      20,096.72   Weekly Disbursement/Time/i 1:27 Imad: 0805B1Qgc07C007562 Tm: 3099300217Jo
                                                                                                                                   Fedwire Debit Via: Fi2i000358/i2i000358 A/C: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ret:
Chase            The Litigation Practice Group PC                       7/31/2022       7/29/2022                      22,045.35   Weekly Disbursement/Time/i 1:24 Imad: 0729B1Qgc04C0i2006 Tm: 37058002i0Jo



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1 of 3                                                                                                                                                                                                                     EXHIBIT 1
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In re: The Litigation Practice Group PC
                                                 Case 8:24-ap-01001-SC                  Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59                                                           Desc
                                                                                               Leucadia Enterprises, Inc.
Disbursement Details by Payee                                                           Main Document                 Page 22 of 45
4 Years Pre-Petition (03/20/2019 - 03/20/2023)

Bank Name        Account Name                       Account Number Statement Date Transaction Date Check Number    Debit/Charge    Memo
                                                                                                                                   Fedwire Debit Via: Fi2i000358/i2i000358 A/C: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ref:
Chase            The Litigation Practice Group PC                       7/31/2022       7/21/2022                      10,126.83   Weekly Disbursement/Time/i 3:55 Imad: 0721 Bi Qgc04C006660 Tm: 5237300202Jo
                                                                                                                                   Fedwire Debit Via: F121000358/121000358 A/C: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ref:
Chase            The Litigation Practice Group PC                       7/31/2022       7/14/2022                      24,876.39   Weekly Disbursement/Time/i 2:54 Imad: 0714B1Qgc02C005789 Tm: 5105800195Jo
                                                                                                                                   Fedwire Debit Via: F12i000358112i000358 NC: Leucadia Enterprises, Inc. Encinitas, CA, 92024 us Ret:
Chase            The Litigation Practice Group PC                       7/31/2022        7/8/2022                      14,468.44   Weekly Disbursement/Time/i 2:47 Imad: O7O8BlQgcO7COi 1535 Tm: 4045300i89Jo
                                                                                                                                   Fedwire Debit Via: F121000358/121000358 NC: Leucadia Enterprises, Inc. Encinitas, CA, 92024 us Ref:
Chase            The Litigation Practice Group PC                       6/30/2022       6/30/2022                      26,055.01   Weekly Disbursement/Time/i 3:37 Imad: 0630B1 Qgc03C022277 Tm: 5590000181 Jo
                                                                                                                                   Fedwire Debit Via: F121000358/121000358 A/C: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ref:
Chase            The Litigation Practice Group PC                       6/30/2022       6/23/2022                      12,675.49   Weekly Disbursement/Time/15:31 Imad: 0623B1 Qgc02C006451 Tm: 65092001 74Jo
                                                                                                                                   Fedwire Debit Via: F121000358/121000358 NC: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ref:
Chase            The Litigation Practice Group PC                       6/30/2022       6/16/2022                      23,549.54   Weekly Disbursement/Time/i 1:59 Imad: 061 6B1 Qgc02C004577 Tm: 3746800l67Jo
                                                                                                                                   Fedwire Debit Via: Fi2i000358/i2i000358 NC: Leucadia Enterprises, Inc. Encinitas, CA, 92024 U5 Ret: Weekly
Chase            The Litigation Practice Group PC                       6/30/2022       6/10/2022                      15,013.69   Disbursement/Time/i 4:45 Imad: 0610B1Qgc03C005552 Tm: 5i4iiOOi6iJo
                                                                                                                                   Fedwire Debit Via: F121000358/121000358 A/C: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ret:
Chase            The Litigation Practice Group PC                       6/30/2022        6/3/2022                      18,705.49   Weekly Disbursement/Time/i 7:20 Imad: 0603B1 Qgc080029998 Tm: 62033001 54Jo
                                                                                                                                   Fedwire Debit Via: Fi2i000358/i2i000358 NC: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ref: Weekly
Chase            The Litigation Practice Group PC                       5/31/2022       5/27/2022                      18,652.86   Disbursement/Time/i 6:48 Imad: 0527B1 QgcO7COi 9593 Tm: 7i57600i47Jo
                                                                                                                                   Fedwire Debit Via: Fl 21000358/i 21000358 A/C: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ret:
Chase            The Litigation Practice Group PC                       5/31/2022       5/19/2022                      22,193.31   Weekly Disbursement/Time/i 4:24 Imad: 0519B1Qgc06C0i0923 Tm: 5545000i39Jo
                                                                                                                                   Fedwire Debit Via: Fi2i000358/i2i000358 A/C: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ref:
Chase            The Litigation Practice Group PC                       5/31/2022       5/13/2022                      24,250.18   Weekly Disbursement/Time/i 5:50 Imad: 051 3B1 Qgc08C02974i Tm: 74419001 33Jo
                                                                                                                                   Fedwire Debit Via: F121000358/12i000358 A/C: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ret:
Chase            The Litigation Practice Group PC                       5/31/2022        5/5/2022                      16,159.03   Weekly Disbursement/Time/i 6:59 Imad: 0505B1 Qgc03C0i2285 Tm: 7i20700i25Jo
                                                                                                                                   Fedwire Debit Via: Fi2i000358/i2i000358 A/C: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ret:
Chase            The Litigation Practice Group PC                       4/30/2022       4/28/2022                      28,740.27   Weekly DisbursementlTime/13:54 Imad: 0428B1Qgc08C026922 Tm: 5926600118Jo
                                                                                                                                   Fedwire Debit Via: F12i000358/i2i000358 A/C: Leucadia Enterprises, Inc. Encinitas, CA, 92024 us Ref:
Chase            The Litigation Practice Group PC                       4/30/2022       4/21/2022                      13,481.39   Weekly Disbursement/Time/i 3:13 Imad: 0421 BlQgcO7COiO99l Tm: 487850011 iJ0
                                                                                                                                   Fedwire Debit Via: Fi2i000358/i2i000358 NC: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ret: Weekly
Chase            The Litigation Practice Group PC                       4/30/2022       4/18/2022                      23,830.88   Disbursement/Time/12:50 Imad: 041 8B1 QgcO6COi 1681 Tm: 4353900i08Jo
                                                                                                                                   Fedwire Debit Via: Fi21000358/121000358 NC: Leucadia Enterprises, Inc. Encinitas, CA, 92024 us Ret:
Chase            The Litigation Practice Group PC                       4/30/2022        4/7/2022                      26,023.52   Weekly Disbursement/Time/i 4:50 Imad: O4O7BlQgcO7COi 1433 Tm: 5689200097Jo
                                                                                                                                   Fedwire Debit Via: F12i000358/i2i000358 A/C: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ref:
Chase            The Litigation Practice Group PC                       4/30/2022        4/1/2022                      18,189.23   Weekly Disbursement/Time/i 3:48 Imad: 0401B1Qgc05C013460 Tm: 50i670009iJo
                                                                                                                                   Fedwire Debit Via: F12i000358/i2i000358 A/C: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ref:
Chase            The Litigation Practice Group PC                       3/31/2022       3/24/2022                      20,502.42   Weekly Disbursement/Time/i 5:08 Imad: 0324B1 Qgc04C009058 Tm: 5974200083Jo
                                                                                                                                   Fedwire Debit Via: F121000358/121000358 A/C: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ret:
Chase            The Litigation Practice Group PC                       3/31/2022       3/18/2022                      20,727.33   Weekly DisbursementlTime/13:22 Imad: 031 8B1 Qgc03C009750 Tm: 4568600077Jo
                                                                                                                                   Fedwire Debit Via: Fi2i000358/i2i000358 A/C: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ref:
Chase            The Litigation Practice Group PC                       3/31/2022       3/10/2022                      25,042.67   Weekly Disbursement/Time/i 6:56 Imad: O3lOBlQgcOlCOii682 Tm: 74i2900069Jo
                                                                                                                                   Fedwire Debit Via: F121000358/121000358 NC: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ref:
Chase            The Litigation Practice Group PC                       3/31/2022        3/4/2022                      18,487.62   Weekly Disbursement/Time/i 5:50 Imad: 0304B1 QgcO3COO9l 89 Tm: 5363800063Jo
                                                                                                                                   Fedwire Debit Via: Fi2i000358/i2i000358 A/C: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ret:
Chase            The Litigation Practice Group PC                       2/28/2022       2/25/2022                      40,102.23   Weekly Disbursement/Time/i 5:26 Imad: 0225B1 QgcO6COi 6825 Tm: 6364900056Jo
                                                                                                                                   Fedwire Debit Via: Fi21000358/121000358 NC: Leucadia Enterprises, Inc. Encinitas, CA, 92024 US Ref:
Chase            The Litigation Practice Group PC                       2/28/2022       2/22/2022                      21,074.35   Weekly Disbursement/Time/i 7:52 Imad: 0222B1Qgc01C018482 Tm: 7923200053Jo
                                                                                                                                   WIRE TRANS TRN 0211017125 021122 UBOC UB102897N Sent To: BANK OF AMERICA N.A. Beneficiary:
UnionBank        The Litigation Practice Group PC                       2/28/2022       2/11/2022                      12,316.38   1/Leucadia Enterprises, Inc.
                                                                                                                                   WIRE TRANS TRN 0204022678 020422 UBOC UB131172N Sent To: BANK OF AMERICA N.A. Beneficiary:
UnionBank        The Litigation Practice Group PC                       2/28/2022        2/4/2022                      20,587.30   1/Leucadia Enterprises, Inc.
                                                                                                                                   WIRE TRANS TRN 0128019456 012822 UBOC UB169965N Sent To: BANK OF AMERICA N.A. Beneficiary:
UnionBank        The Litigation Practice Group PC                       1/31/2022       1/28/2022                      18,837.43   1/Leucadia Enterprises, Inc.
                                                                                                                                   WIRE TRANS TRN 0121016155 012122 UBOC UB210903N Sent To: BANK OF AMERICA N.A. Beneficiary:
UnionBank        The Litigation Practice Group PC                       1/31/2022       1/21/2022                      20,581.84   1/Leucadia Enterprises, Inc.
                                                                                                                                   WIRE TRANS TRN 0113021475 011322 UBOC UB246540N Sent To: BANK OF AMERICA N.A. Beneficiary:
UnionBank        The Litigation Practice Group PC                       1/31/2022       1/13/2022                      14,149.72   1/Leucadia Enterprises, Inc.



                                                                                                    DRAFT FORM - SUBJECT TO CHANGE
2 of 3                                                                                                                                                                                                                     EXHIBIT 1
                                                                                                                                                                                                                            Page 22
In re: The Litigation Practice Group PC
                                                 Case 8:24-ap-01001-SC                  Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59                                                    Desc
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Disbursement Details by Payee                                                           Main Document                 Page 23 of 45
4 Years Pre-Petition (03/20/2019 - 03/20/2023)

Bank Name        Account Name                       Account Number Statement Date Transaction Date Check Number    Debit/Charge    Memo
                                                                                                                                   WIRE TRANS TRN 0110021675 011022 UBOC UB269046N Sent To: BANK OF AMERICA N.A. Beneficiary:
UnionBank        The Litigation Practice Group PC                       1/31/2022       1/10/2022                      18,091.18   1/Leucadia Enterprises, Inc.
                                                                                                                                   WIRE TRANS TRN 1231023081 123121 UBOC UB305832N Sent To: BANK OF AMERICA N.A. Beneficiary:
UnionBank        The Litigation Practice Group PC                      12/31/2021      12/31/2021                      23,507.98   1/Leucadia Enterprises, Inc.
                                                                                                                                   WIRE TRANS TRN 1223024587 122321 UBOC UB341250N Sent To: BANK OF AMERICA N.A. Beneficiary:
UnionBank        The Litigation Practice Group PC                      12/31/2021      12/23/2021                      11,339.60   1/Leucadia Enterprises, Inc.
                                                                                                                                   WIRE TRANS TAN 1217017553 121721 UBOC UB382887N Sent To: BANK OF AMERICA N.A. Beneficiary:
UnionBank        The Litigation Practice Group PC                      12/31/2021      12/17/2021                      28,381.81   1/Leucadia Enterprises, Inc.
                                                                                                                                   WIRE TRANS TRN 1209021671 120921 UBOC UB426444N Sent To: BANK OF AMERICA N.A. Beneficiary:
UnionBank        The Litigation Practice Group PC                      12/31/2021       12/9/2021                      18,871.59   1/Leucadia Enterprises, Inc.
Optimum Bank     Coast Processing LLC dba LPG                          12/31/2021       12/2/2021                      22,052.86   WIRE TO Leucadia Enterprlsoe, Inc
Optimum Bank     Coast Processing LLC dba LPG                          11/30/2021      11/26/2021                      21,400.82   WIRE TO Leucadia Enterprises, Inc
Optimum Bank     Coast Processing LLC dba LPG                          11/30/2021      11/18/2021                      20,153.63   WIRE TO Leucadia Enterprises, Inc
Optimum Bank     Coast Processing LLC dba LPG                          11/30/2021      11/12/2021                      14,810.80   WIRE TO Leucadia Enterprises, Inc
Optimum Bank     Coast Processing LLC dba LPG                          11/30/2021       11/5/2021                      22,385.90   WIRE TO Leucadia Enterprises, Inc
Optimum Bank     Coast Processing LLC dba LPG                          10/29/2021      10/26/2021                      15,866.79   WIRE TO Leucadia Enterprises, Inc
Optimum Bank     Coast Processing LLC dba LPG                          10/29/2021      10/14/2021                      23,411.86   WIRE TO Leucadia Enterprises, Inc
Optimum Bank     Coast Processing LLC dba LPG                          10/29/2021       10/7/2021                      19,912.16   WIRE TO Leucadia Enterprises, Inc
Optimum Bank     Coast Processing LLC dba LPG                          10/29/2021       10/1/2021                      28,575.37   WIRE TO Leucadia Enterprises, Inc
                                                                                                                                   WIRE TRANS TRN 0922021200 092221 UBOC UB842661N Sent To: BANK OF AMERICA N.A. Beneficiary:
UnionBank        The Litigation Practice Group PC                       9/30/2021       9/22/2021                      12,451.84   1/Leucadia Enterprises, Inc.
                                                                                                                                   WIRE TRANS TRN 0916025624 091621 UBOC UB868467N Sent To: BANK OF AMERICA N.A. Beneficiary:
UnionBank        The Litigation Practice Group PC                       9/30/2021       9/16/2021                      33,077.45   1/Leucadia Enterprises, Inc.
                                                                                                                                   WIRE TRANS TRN 0909021769 090921 UBOC UB909003N Sent To: BANK OF AMERICA N.A. Beneficiary:
UnionBank        The Litigation Practice Group PC                       9/30/2021        9/9/2021                      14,457.87   1/Leucadia Enterprises, Inc.
                                                                                                                                   WIRE TRANS TRN 0901027869 090121 UBOC UB944337N Sent To: BANK OF AMERICA N.A. Beneficiary:
UnionBank        The Litigation Practice Group PC                       9/30/2021        9/1/2021                      17,684.39   1/Leucadia Enterprises, Inc.
                                                                                                                                   WIRE TRANS TRN 0825024050 082521 UBOC UB987501 N Sent To: BANK OF AMERICA N.A. Beneficiary:
UnionBank        The Litigation Practice Group PC                       8/31/2021       8/25/2021                      22,776.41   1/Leucadia Enterprises, Inc.
                                                                                                                                   WIRE TRANS TRN 0820021982 082021 UBOC UB009981 N Sent To: BANK OF AMERICA N.A. Beneficiary:
UnionBank        The Litigation Practice Group PC                       8/31/2021       8/20/2021                         497.28   1/Leucadia Enterprises, Inc.
                                                                                                                                   WIRE TRANS TRN 0820019215 082021 UBOC UB012060N Sent To: BANK OF AMERICA NA. Beneficiary:
UnionBank        The Litigation Practice Group PC                       8/31/2021       8/20/2021                      17,662.38   1/Leucadia Enterprises, Inc.
                                                                                                                                   WIRE TRANS TRN 0811021537 081121 UBOC UB059940N Sent To: BANK OF AMERICA N.A. Beneficiary:
UnionBank        The Litigation Practice Group PC                       8/31/2021       8/11/2021                       9,226.57   1/Leucadia Enterprises, Inc.
                                                                                                                                   WIRE TRANS TRN 0804022023 080421 UBOC UB094584N Sent To: BANK OF AMERICA N.A. Beneficiary:
UnionBank        The Litigation Practice Group PC                       8/31/2021        8/4/2021                      14,528.48   1/Leucadia Enterprises, Inc.
                                                                                                                                   WIRE TRANS TRN 0728027712 072821 UBOC930 UB1 32507N Sent To: BANK OF AMERICA N.A. Beneficiary:
UnionBank        The Litigation Practice Group PC                       7/31/2021       7/28/2021                      27,469.83   1/Leucadia Enterprises, Inc.
                                                                                                                    1,468,018.91




                                                                                                    DRAFT FORM - SUBJECT TO CHANGE
3 of 3                                                                                                                                                                                                           EXHIBIT 1
                                                                                                                                                                                                                  Page 23
Case 8:24-ap-01001-SC   Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59   Desc
                        Main Document    Page 24 of 45



 1                                   EXHIBIT “2”

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                                                                         EXHIBIT 2
                                                                          Page 24
DocuSign Envelope ID: 514FA708-F7CA-4A79-A101-24452F63F052
              Case 8:24-ap-01001-SC            Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59                        Desc
                                               Main Document    Page 25 of 45

                                           ACCOUNTS RECEIVABLE PURCHASE AGREEMENT

                This ACCOUNTS RECEIVABLE PURCHASE AGREEMENT (this “Agreement”) is made as of February 28, 2023
        (the “Agreement Date”), by and between The Litigation Practice Group PC (collectively the “Buyer”), and Leucadia
        Enterprises, Inc (the “Seller” or “LPG”, and together with the Buyer, the “Parties”), and The Litigation Practice
        Group PC (“LPG”).

                                                               RECITALS

               WHEREAS, in the regular course of business, the Seller originates account receivables from LPG in
        connection with client on-boarding services provided by the Seller to LPG and its affiliates;

                 WHEREAS, the account receivables represent an obligation of various clients to pay Seller for services that
        Seller previously provided, but which LPG shall provide from the date of execution of this Agreement;

               WHEREAS, the Seller desires to sell, assign, transfer, and deliver to the Buyer, and the Buyer desires to
        purchase, acquire, and accept from the Seller, certain of these account receivables (the “Purchased Accounts”).

                NOW, THEREFORE, in consideration of the covenants and representations set forth herein, the Parties,
        intending to be legally bound, agree as follows:

                                                             ARTICLE 1.




                      VOID
                                                             DEFINITIONS

                 Section 1.1      Certain Definitions. Certain defined terms used in this Agreement are set forth on Exhibit
        A.

                                                      ARTICLE 2.
                                        ASSIGNMENT AND TRANSFER AND CONSIDERATION

                Section 2.1     Assignment of the Purchased Accounts to the Buyer. Upon execution of this Agreement
        and subject to the terms and conditions set forth herein, the Seller shall sell, assign, transfer, and deliver, and the
        Buyer shall purchase, acquire, and accept from the Seller, all of the Seller’s right, title, and interest in and to the
        Purchased Accounts set forth on the spreadsheet attached to this Agreement, free and clear of any Liens. Other
        than the Purchased Accounts, the Buyer shall not purchase or acquire any other assets of the Seller (collectively,
        the “Excluded Assets”).

                Section 2.2      No Assumption of Liabilities. The Buyer shall not assume any Liabilities of the Seller of
        any kind, whether known or unknown, contingent, matured, or otherwise, whether currently existing or
        hereinafter created (collectively, the “Excluded Liabilities”).

                Section 2.3      Payment of Purchase Price. Buyer shall pay $5,106.22 (total purchase price) for the
        Purchased Accounts (the “Purchase Price”) by wire transfer of immediately available funds in accordance with the
        wire transfer instructions set forth in Schedule 2.3 (the “Wire Instructions”). The Purchased Accounts are set
        forth on the attached spreadsheet.

                Section 2.4       Guarantee of LPG. If any file acquired by buyer shall fail to make a first payment, LPG will
        replace the file and bear any cost associated with such replacement. The replacement file shall yield no less than
        the receivable of the failed file. In addition, if in any calendar month a total of less than 80% of files make a cleared
        payment, LPG shall replace any non-performing files in such month so that the performance of the file package as



                                                                                                                    EXHIBIT 2
                                                                                                                     Page 25
DocuSign Envelope ID: 514FA708-F7CA-4A79-A101-24452F63F052
              Case 8:24-ap-01001-SC              Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59                    Desc
                                                 Main Document    Page 26 of 45

        a whole equals 80%. This guarantee shall continue until the completion of the 24th month following execution of
        this agreement.

                                                           ARTICLE 3.
                                            REPRESENTATIONS AND WARRANTIES OF THE SELLER

                 The Seller represents and warrants to the Buyer, as of the Agreement Date and as of the Closing Date, or,
        if expressly made as of a specified date, as of such specified date, as follows:

                 Section 3.1      Organization; Good Standing. The Seller is a Limited Liability Company duly organized,
        validly existing, and in good standing under the Laws of the State of Delaware and is duly qualified to do business
        and is in good standing as a foreign corporation in each jurisdiction where the ownership or operation of the
        Business requires such qualification, except where the failure to be so qualified would not reasonably be expected
        to have, individually or in the aggregate, a material adverse effect on the business, results of operations, financial
        condition, or assets of the Seller.

                 Section 3.2      Power and Authority. The Seller has all requisite right, power, and authority to execute,
        deliver, and perform this Agreement and the Transaction Agreements to which it is a party, to consummate the
        transactions contemplated hereby and thereby, and to perform its obligations hereunder and thereunder. The
        execution and delivery of this Agreement and the Transaction Agreements by the Seller, and the consummation
        by the Seller of the transactions contemplated hereby and thereby, have been duly approved by the Seller, and
        no further action is required on the part of the Seller to authorize this Agreement, any Transaction Agreement to




                       VOID
        which it is a party, or the transactions contemplated hereby and thereby. This Agreement has been, and each of
        the Transaction Agreements will be, duly and validly executed and delivered by the Seller and, assuming the due
        and valid authorization, execution, and delivery of this Agreement by the other Parties, and of each such
        Transaction Agreement by the other parties thereto, constitutes, or will constitute, a valid and binding obligation
        of the Seller, enforceable against it in accordance with its terms and conditions, except as enforcement may be
        limited by applicable bankruptcy, insolvency, reorganization, moratorium, and other Laws affecting enforcement
        of creditor’s rights generally and except insofar as the availability of equitable remedies may be limited by
        applicable Law.

                Section 3.3     Title to, and Sufficiency of, the Purchased Accounts. The Seller has and shall convey to
        the Buyer, at the Closing, good, valid, transferable, and marketable title to, or valid leasehold interests in, all of
        the Purchased Accounts, free and clear of all Liens.

                Section 3.4      Consents. The Seller is not required to give any notice to, make any filing with, or obtain
        any authorization, consent, or approval of, any Governmental Body or Third Party, including a party to any
        assigned contract, in connection with the execution, delivery, and performance by the Seller of this Agreement or
        any of the Transaction Agreements to which it is a party or the consummation of the transactions contemplated
        hereby and thereby.

                 Section 3.5       No Conflicts. The execution and delivery by the Seller of this Agreement and each of the
        Transaction Agreements, and the consummation of the transactions contemplated hereby and thereby, will not
        conflict with, result in any violation of, or default under (with or without notice or lapse of time, or both), or give
        rise to an additional payment obligation, a right of termination, cancellation, modification, or acceleration of any
        obligation, or loss of any benefit, under: (a) any provision of the Organizational Documents of the Seller; (b) any
        contract to which the Seller is party, including, without limitation, any assigned contract; or (c) any Law or order
        applicable to the Seller or any of the Purchased Accounts.



        Accounts Receivable Purchase Agreement
        Page 2 of 7

                                                                                                                  EXHIBIT 2
                                                                                                                   Page 26
DocuSign Envelope ID: 514FA708-F7CA-4A79-A101-24452F63F052
              Case 8:24-ap-01001-SC              Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59                    Desc
                                                 Main Document    Page 27 of 45

               Section 3.6      Compliance with Laws. The Seller has materially complied, and is now materially
        complying, with all Laws applicable to the ownership and use of the Purchased Accounts.

                 Section 3.7    Legal Proceedings. There is no Action of any nature pending or, to the Knowledge of the
        Seller, threatened against or by the Seller: (a) relating to or affecting the Purchased Accounts or (b) that challenges
        or seeks to prevent, enjoin, or otherwise delay the transactions contemplated by this Agreement and the
        Transaction Agreements. No event has occurred or circumstance exists that may give rise to, or serve as a basis
        for, any such Action.

               Section 3.8    Condition of Purchased Accounts. Each Purchased Account shall have received no less
        than one processed payment.

                  Section 3.9    Confidentiality. Seller agrees and acknowledges that all Purchased Accounts, the pricing,
        and all terms set forth in this Agreement are confidential (together, the “Confidential Information”). Seller will
        at all times keep the Confidential Information in confidence and trust. Seller will not, without the prior written
        consent of an authorized officer of Buyer, (A) copy, use or disclose any Confidential Information, (B) deliver or
        disclose any Confidential Information to any person or entity outside the Buyer, or (C) use the Confidential
        Information for Seller’s own use or use it to the detriment of Buyer. Notwithstanding the foregoing, Seller may,
        without consent, use the Confidential Information and disclose and deliver same to Seller’s employees or agents,
        if applicable, who have a need to know, provided such employees or agents have entered into written agreements
        approved by Buyer and containing provisions at least as restrictive as these provisions. Seller agrees that violation
        of this Section 3.9. The Parties agree that the disclosure of the Confidential Information in violation of this




                       VOID
        Agreement may cause the Buyer irreparable harm and that any breach or threatened breach by the Seller entitles
        Buyer to seek injunctive relief, in addition to any other legal or equitable remedies available to it, in any court of
        competent jurisdiction.

                                                           ARTICLE 4.
                                            REPRESENTATIONS AND WARRANTIES OF THE BUYER

                 The Buyer represents and warrants to the Seller, as of the Agreement Date and as of the Closing Date, or,
        if expressly made as of a specified date, as of such specified date, as follows:

                 Section 4.1      Organization; Good Standing. The Buyer is a limited liability company, duly organized,
        validly existing, and in good standing under the Laws of the State of Florida.

                 Section 4.2      Power and Authority. The Buyer has all requisite right, power, and authority to execute,
        deliver, and perform this Agreement and the Transaction Agreements to which it is a party, to consummate the
        transactions contemplated hereby and thereby, and to perform its obligations hereunder and thereunder. The
        execution and delivery of this Agreement and the Transaction Agreements by the Buyer, and the consummation
        by the Buyer of the transactions contemplated hereby and thereby, have been duly approved by the Buyer, and
        no further action is required on the part of the Buyer to authorize this Agreement, any Transaction Agreement to
        which it is a party, or the transactions contemplated hereby and thereby. This Agreement has been, and each of
        the Transaction Agreements will be, duly and validly executed and delivered by the Buyer and, assuming the due
        and valid authorization, execution, and delivery of this Agreement by the other Parties, and of each such
        Transaction Agreement by the other parties thereto, constitutes, or will constitute, a valid and binding obligation
        of the Buyer, enforceable against it in accordance with its terms and conditions, except as enforcement may be
        limited by applicable bankruptcy, insolvency, reorganization, moratorium and other Laws affecting enforcement
        of creditor’s rights generally and except insofar as the availability of equitable remedies may be limited by
        applicable Law.


        Accounts Receivable Purchase Agreement
        Page 3 of 7

                                                                                                                  EXHIBIT 2
                                                                                                                   Page 27
DocuSign Envelope ID: 514FA708-F7CA-4A79-A101-24452F63F052
              Case 8:24-ap-01001-SC              Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59                    Desc
                                                 Main Document    Page 28 of 45

                 Section 4.3       No Conflicts. The execution and delivery by the Buyer of this Agreement and each of the
        Transaction Agreements, and the consummation of the transactions contemplated hereby and thereby, will not
        conflict with, result in any violation of, or default under (with or without notice or lapse of time, or both), or give
        rise to an additional payment obligation, a right of termination, cancellation, modification, or acceleration of, any
        obligation, or loss of any benefit under: (a) any provision of the Buyer’s Organizational Documents; (b) any
        contract to which the Buyer is party, other than the Buyer Representation Agreement; or (c) any Law applicable
        to the Buyer.

                Section 4.4    Sufficient Funds. The Buyer has, and will have, sufficient funds available to make payment
        of the Purchase Price and consummate the transactions contemplated by this Agreement and the Transaction
        Agreements.

                                                              ARTICLE 5.
                                                             COVENANTS
                  Section 5.1         Appropriate Actions.

                         (a)     General. Each of the Parties shall use commercially reasonable efforts to take all actions
        necessary to consummate the transactions contemplated by this Agreement as soon as reasonably practicable
        after the execution of this Agreement, including taking all actions necessary to comply promptly with all applicable
        Laws that may be imposed on it or any of its Affiliates with respect to the Closing.

                                                                ARTICLE 6.




                       VOID
                                                                CLOSING

                 Section 6.1     Closing. The closing of the transactions contemplated by this Agreement (the “Closing”)
        will take place upon the execution and delivery of this Agreement or at such other time, date, and place as the
        Parties may agree in writing. The date on which the Closing occurs is hereinafter referred to as the “Closing Date.”
        The Parties agree that the Closing may take place by the electronic exchange of executed counterpart documents
        and the electronic transfer of funds.

               Section 6.2      Closing Deliverables of the Seller. At or prior to the Closing, Seller shall deliver to Buyer
        any of the following if requested by Buyer: (i) a bill of sale and assignment and assumption agreement
        substantially in the form attached hereto as Exhibit B (the “Bill of Sale and Assignment and Assumption
        Agreement”), duly executed by the Seller, effecting the transfer and assignment to, and assumption by, the Buyer
        of the Purchased Accounts; and (ii) such other customary instruments of transfer, assumption, filings, or
        documents, in form and substance reasonably satisfactory to the Buyer, as may be required to give effect to this
        Agreement.

                Section 6.3      Closing Deliverables of the Buyer. At or prior to the Closing, the Seller shall have
        received the following: (i) the Upfront Cash Payment; and (ii) if requested pursuant to Section 6.2, the Bill of Sale
        and Assignment and Assumption Agreement, duly executed by the Buyer.

                 Section 6.4     Indemnification by the Seller. Subject to the limitations set forth in this Article 6, the
        Seller agrees to indemnify and hold harmless the Buyer, including its shareholders, members, directors, managers,
        officers, employees, Affiliates, and agents (each, a “Buyer Indemnified Party” and, collectively, the “Buyer
        Indemnified Parties”), against all claims, losses, Liabilities, damages, deficiencies, diminutions in value, costs,
        interest, awards, judgments, penalties, and expenses, including reasonable out-of-pocket attorneys’ and
        consultants’ fees and expenses and including any such reasonable expenses incurred in connection with
        investigating, defending against, or settling any of the foregoing (each, a “Loss” and, collectively, the “Losses”)
        paid, suffered, incurred, sustained, or accrued by any Buyer Indemnified Party, directly or indirectly, as a result of,

        Accounts Receivable Purchase Agreement
        Page 4 of 7

                                                                                                                  EXHIBIT 2
                                                                                                                   Page 28
DocuSign Envelope ID: 514FA708-F7CA-4A79-A101-24452F63F052
              Case 8:24-ap-01001-SC              Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59                      Desc
                                                 Main Document    Page 29 of 45

        arising out of, or in connection with: (a) any inaccuracy in, or breach of, any of the representations or warranties
        of the Seller contained in this Agreement, (b) any breach or non-fulfillment of any covenant, agreement, or
        obligation to be performed by the Seller pursuant to this Agreement, (c) any Excluded Asset or any Excluded
        Liability.

                Section 6.5      Indemnification by the Buyer. Subject to the limitations set forth in this Article 6, the
        Buyer agrees to indemnify and hold harmless the Seller, including its Affiliates and agents (each, a “Seller
        Indemnified Party” and, collectively, the “Seller Indemnified Parties”), against all Losses paid, suffered, incurred,
        sustained, or accrued by any Seller Indemnified Party, directly or indirectly, as a result of, arising out of, or in
        connection with: (a) any inaccuracy in, or breach of, any of the representations or warranties of the Buyer
        contained in this Agreement; (b) any breach or non-fulfillment of any covenant, agreement, or obligation to be
        performed by the Buyer pursuant to this Agreement; (c) any event or occurance related to the Purchased Accounts
        or Buyer occurring after the Closing; or (d) resulting from any omissions or misstatements made by Buyer to
        investors or potential investors.

                  Section 6.6         Indemnification Procedures.

                         (a)      No Restraints. Promptly following receipt by an Indemnified Party of notice by a Third
        Party (including any Governmental Body) of any complaint, dispute, or claim or the commencement of any audit,
        investigation, Action or proceeding with respect to which such Indemnified Party may be entitled to
        indemnification pursuant hereto (a “Third-party Claim”), such Indemnified Party shall provide written notice
        thereof to the Indemnifying Party, provided, however, that the failure to so notify the Indemnifying Party shall




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        relieve the Indemnifying Party from Liability hereunder with respect to such Third-party Claim only if, and only to
        the extent that, such failure to so notify the Indemnifying Party results in the forfeiture by the Indemnifying Party
        of rights and defenses otherwise available to the Indemnifying Party with respect to such Third-party Claim. The
        Indemnifying Party shall have the right, upon written notice delivered to the Indemnified Party within twenty days
        thereafter assuming full responsibility for any Losses resulting from such Third-party Claim, to assume the defense
        of such Third-party Claim, including the employment of counsel reasonably satisfactory to the Indemnified Party
        and the payment of the fees and disbursements of such counsel; provided, however, if the Indemnifying Party
        declines or fails to assume the defense of such Third-party Claim on the terms provided above or to employ
        counsel reasonably satisfactory to the Indemnified Party, in either case within such twenty day period, then any
        Losses shall include the reasonable fees and disbursements of counsel for the Indemnified Party as incurred. In
        any Third-party Claim for which indemnification is being sought hereunder the Indemnified Party or the
        Indemnifying Party, whichever is not assuming the defense of such Third-party Claim, shall have the right to
        participate in such matter and to retain its own counsel at such Party’s own expense. The Indemnifying Party or
        the Indemnified Party (as the case may be) shall at all times use reasonable efforts to keep the Indemnifying Party
        or Indemnified Party (as the case may be) reasonably apprised of the status of the defense of any matter, the
        defense of which it is maintaining, and to cooperate in good faith with each other with respect to the defense of
        any such matter.

                          (b)     No Indemnified Party may settle or compromise any Third-party Claim or consent to the
        entry of any judgment with respect to which indemnification is being sought hereunder without the prior written
        consent of the Indemnifying Party (which may not be unreasonably withheld or delayed), unless (i) the
        Indemnifying Party fails to assume and maintain the defense of such Third-party Claim or (ii) such settlement,
        compromise, or consent includes an unconditional release of the Indemnifying Party and its officers, directors,
        employees and Affiliates from all Liability arising out of, or related to, such Third-party Claim. An Indemnifying
        Party may not, without the prior written consent of the Indemnified Party, settle or compromise any Third-party
        Claim or consent to the entry of any judgment with respect to which indemnification is being sought hereunder
        unless such settlement, compromise, or consent (A) includes an unconditional release of the Indemnified Party
        and its officers, directors, employees, and Affiliates from all Liability arising out of, or related to, such Third-party
        Accounts Receivable Purchase Agreement
        Page 5 of 7

                                                                                                                    EXHIBIT 2
                                                                                                                     Page 29
DocuSign Envelope ID: 514FA708-F7CA-4A79-A101-24452F63F052
              Case 8:24-ap-01001-SC              Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59                   Desc
                                                 Main Document    Page 30 of 45

        Claim, (B) does not contain any admission or statement suggesting any wrongdoing or Liability on behalf of the
        Indemnified Party, and (C) does not contain any equitable order, judgment, or term that in any manner affects,
        restrains, or interferes with the business of the Indemnified Party or any of the Indemnified Party’s Affiliates.

                         (c)     If an Indemnified Party claims a right to payment pursuant hereto with respect to any
        matter not involving a Third-party Claim (a “Direct Claim”), such Indemnified Party shall send written notice of
        such claim to the appropriate Indemnifying Party (each, a “Notice of Claim”). Such Notice of Claim shall specify
        the basis for such Direct Claim. The failure by any Indemnified Party so to notify the Indemnifying Party shall not
        relieve the Indemnifying Party from any Liability that it may have to such Indemnified Party with respect to any
        Direct Claim made pursuant to this Section 6.6(c). If the Indemnifying Party does not notify the Indemnified Party
        within thirty days following its receipt of such Notice of Claim that the Indemnifying Party disputes its Liability to
        the Indemnified Party under this Article 6 or the amount thereof, the Direct Claim specified by the Indemnified
        Party in such Notice of Claim shall be conclusively deemed a Liability of the Indemnifying Party under this Article
        6, and the Indemnifying Party shall pay the amount of such Liability to the Indemnified Party on demand or, in the
        case of any Notice of Claim in which the amount of the Direct Claim (or any portion of the Direct Claim) is
        estimated, on such later date when the amount of such Direct Claim (or such portion of such Direct Claim)
        becomes finally determined. In the event that the Indemnifying Party has timely disputed its Liability with respect
        to such Direct Claim as provided above, as promptly as possible, such Indemnified Party and the appropriate
        Indemnifying Party shall establish the merits and amount of such Direct Claim (by mutual agreement, litigation,
        arbitration or otherwise) and, within five business days following the final determination of the merits and amount
        of such Direct Claim, the Indemnifying Party shall pay to the Indemnified Party an amount equal to such Direct
        Claim as determined hereunder.




                       VOID
                                                               ARTICLE 7.
                                                             MISCELLANEOUS

                 Section 7.1     Entire Agreement; Amendment. This Agreement and the Transaction Agreements
        (including the exhibits hereto and thereto and the documents referred to therein) constitute the entire agreement
        among the Parties with respect to the subject matter hereof and supersede any prior understandings, agreements,
        or representations by or among the Parties, written or oral, to the extent they related in any way to the subject
        matter hereof. This Agreement may be amended with the written consent of each of the Parties or any successor
        thereto by execution of an instrument in writing.

                Section 7.2     Waivers. The rights and remedies of the Parties to this Agreement are cumulative and
        not alternative. To the maximum extent permitted by applicable Law: (a) no claim or right arising out of this
        Agreement or the documents referred to in this Agreement can be discharged by one Party, in whole or in part,
        by a waiver or renunciation of the claim or right unless in writing signed by the other Parties; (b) no waiver that
        may be given by a Party will be applicable except in the specific instance for what it is given; and (c) no notice to,
        or demand on, one Party will be deemed to be a waiver of any obligation of such Party or of the right of the Party
        giving such notice or demand to take further action without notice or demand as provided in this Agreement or
        the Transaction Agreements.

                Section 7.3      Notices. All notices and other communications required or permitted hereunder shall be
        made to the address of a Party listed on the signature page to this Agreement and shall be (a) in writing, (b)
        effective when given, and (c), in any event, deemed to be given upon receipt or, if earlier: (i) upon delivery, if
        delivered by hand; (ii) two business days after deposit with FedEx Express or similar recognized international
        overnight courier service, freight prepaid; or (iii) one business day after facsimile or electronic mail transmission.
        A Party may change the address to which notices, requests, demands, claims, and other communications
        hereunder are to be delivered by giving the other Parties advance written notice pursuant to the provisions above.

        Accounts Receivable Purchase Agreement
        Page 6 of 7

                                                                                                                 EXHIBIT 2
                                                                                                                  Page 30
DocuSign Envelope ID: 514FA708-F7CA-4A79-A101-24452F63F052
              Case 8:24-ap-01001-SC              Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59                    Desc
                                                 Main Document    Page 31 of 45

                 Section 7.4     Successors and Assigns. This Agreement shall be binding upon, and inure to the benefit
        of, the Parties named herein and their respective successors and permitted assigns. Neither this Agreement nor
        any rights or obligations of a Party hereunder shall be assigned by a Party (unless to an Affiliate of such Party)
        without the prior written consent of the other Parties. This Agreement will be binding upon any permitted
        assignee of any Party. No assignment shall have the effect of relieving any Party to this Agreement of any of its
        obligations hereunder.

                Section 7.5   Public Disclosure. Except as may be required by Law, the Seller shall not issue any
        statement or communication to any Third Party (other than its respective agents) regarding the subject matter of
        this Agreement or the transactions contemplated hereby, including, if applicable, the termination of this
        Agreement and the reasons therefor, without the prior written consent of the Buyer.

                Section 7.6      Expenses and Fees. Whether or not the Closing occurs, all fees and expenses incurred in
        connection with this transactions contemplated by this Agreement, including all legal, accounting, financial
        advisory, consulting and all other fees and expenses of Third Parties incurred by a Party in connection with the
        negotiation and effectuation of the terms and conditions of this Agreement and the transactions contemplated
        hereby, shall be the obligation of the respective Party incurring such fees and expenses.

                 Section 7.7     Specific Performance. The Parties agree that irreparable damage would occur if any provision
        of this Agreement was not performed in accordance with the terms hereof and that the Parties shall be entitled to
        specific performance of the terms hereof, in addition to any other remedy to which they are entitled hereunder, at Law
        or in equity.




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                Section 7.8     Counterparts. This Agreement may be executed in counterparts, each of which shall be
        deemed an original, but all of which together shall be deemed to be one and the same agreement. A signed copy
        of this Agreement delivered by facsimile, electronic mail, or other means of electronic transmission shall be
        deemed to have the same legal effect as delivery of an original signed copy of this Agreement.

               Section 7.9     Governing Law. This Agreement shall, in all respects, be construed in accordance with,
        and governed by, the Laws of the State of California without regard to conflict of Laws principles.

                 Section 7.10     Severability. Any term or provision of this Agreement that is invalid or unenforceable in
        any situation in any jurisdiction shall not affect the validity or enforceability of the remaining terms and provisions
        hereof or the validity or enforceability of the offending term or provision in any other situation or in any other
        jurisdiction.

                Section 7.11    Construction. The Parties have participated jointly in the negotiation and drafting of this
        Agreement. In the event an ambiguity or question of intent or interpretation arises, this Agreement shall be
        construed as if drafted jointly by the Parties and no presumption or burden of proof shall arise favoring or
        disfavoring any Party by virtue of the authorship of any of the provisions of this Agreement.




        Accounts Receivable Purchase Agreement
        Page 7 of 7

                                                                                                                  EXHIBIT 2
                                                                                                                   Page 31
DocuSign Envelope ID: 514FA708-F7CA-4A79-A101-24452F63F052
              Case 8:24-ap-01001-SC            Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59                 Desc
                                               Main Document    Page 32 of 45

                 IN WITNESS WHEREOF, the Parties have executed this Agreement as of the Agreement Date.

                                                                 BUYER:

                                                                 The Litigation Practice Group P.C.


                                                                 By: _____________________________
                                                                      Name: Daniel S March
                                                                      Title: Managing Shareholder



                                                                 SELLER:

                                                                 Leucadia Enterprises, Inc



                                                                 By:
                                                                       Name: Jason Malik
                                                                       Title: Member




                      VOID                 APPROVAL OF ASSIGNMENT AND GUARANTEE

                          The assignment of the Purchased Accounts set forth in this Agreement as well as the guarantee
                 included therein is hereby approved, and with respect to the Purchased Accounts, the Buyer shall have all
                 rights of Buyer as set forth in this agreement.


                                                                 The Litigation Practice Group P.C.



                                                                 By:
                                                                       Name: Daniel S. March
                                                                       Title: Managing Shareholder




                                         [Signature Page to Accounts Receivable Purchase Agreement]

                                                                                                            EXHIBIT 2
                                                                                                              Page 32
DocuSign Envelope ID: 514FA708-F7CA-4A79-A101-24452F63F052
              Case 8:24-ap-01001-SC             Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59                         Desc
                                                Main Document    Page 33 of 45

                                                                EXHIBIT A

                                                              DEFINITIONS

                As used in this Agreement, the following terms have the following meanings (terms defined in the singular
        to have a correlative meaning when used in the plural and vice versa).

                         (a)     “Action” shall mean any civil, criminal, or administrative action, claim, suit, demand,
        charge, citation, reexamination, opposition, interference, decree, injunction, mediation, hearing, notice of
        violation, demand letter, litigation, proceeding, labor dispute, arbitral action, governmental or other audit,
        inquiry, criminal prosecution, investigation, unfair labor practice charge, or complaint.

                         (b)      “Agreement” shall have the meaning set forth in the preamble to this Agreement.

                         (c)      “Agreement Date” shall have the meaning set forth in the preamble to this Agreement.

                         (d)      “Affiliate” shall mean (i) with respect to any non-natural Person, any Person that, directly
        or indirectly, through one or more intermediaries, controls, is controlled by, or is under common control with,
        such Person and (ii), with respect to any individual, (A) family members of such individual, by blood, adoption, or
        marriage, (B) such individual’s spouse or ex-spouse and (C) any Person that is directly or indirectly under the
        control of any of the foregoing individuals. For purposes of this definition, “control” (including with correlative
        meanings, the terms “controlling,” “controlled by,” and under “common control with”) means the possession,




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        directly or indirectly, of the power to direct the management and policies of a Person, whether through the
        ownership of voting securities, by contract, or otherwise.

                         (e)      “Bill of Sale and Assignment and Assumption Agreement” shall have the meaning set
        forth in Section 6.2.

                         (f)      “Business” shall mean the business of the Seller as conducted on the Agreement Date.

                         (g)      “Buyer” shall have the meaning set forth in the preamble to this Agreement.

                         (h)      “Buyer Indemnified Parties” shall have the meaning set forth in Section 6.4.

                         (i)       “Closing” shall have the meaning set forth in Section 6.1.

                         (j)       “Closing Date” shall have the meaning set forth in Section 6.1.

                         (k)       “Direct Claim” shall have the meaning set forth in Section 6.6(c).

                         (l)       “Excluded Assets” shall have the meaning set forth in Section 2.1.

                         (m)      “Excluded Liabilities” shall have the meaning set forth in Section 2.2.

                           (n)      “Governmental Body” shall mean any: (i) nation, province, state, county, city, town,
        village, district, or other jurisdiction of any nature; (ii) federal, provincial, state, local, municipal, foreign, or other
        government; (iii) governmental or quasi-governmental authority of any nature (including any governmental
        agency, branch, department, official, or entity and any court or other tribunal); (iv) multi-national organization or
        body; or (v) body exercising, or entitled to exercise, any administrative, executive, judicial, legislative, police,
        regulatory, or taxing authority or power of any nature.




                                                                                                                     EXHIBIT 2
                                                                                                                       Page 33
DocuSign Envelope ID: 514FA708-F7CA-4A79-A101-24452F63F052
              Case 8:24-ap-01001-SC            Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59                    Desc
                                               Main Document    Page 34 of 45

                         (o)       “Indebtedness” means, without duplication and with respect to the Seller, all: (i)
        indebtedness for borrowed money; (ii) obligations for the deferred purchase price of property or services, (iii) long
        or short-term obligations evidenced by notes, bonds, debentures or other similar instruments; (iv) obligations
        under any interest rate, currency swap, or other hedging agreement or arrangement; (v) capital lease obligations;
        (vi) reimbursement obligations under any letter of credit, banker’s acceptance or similar credit transactions; (vii)
        guarantees made by the Seller on behalf of any third party in respect of obligations of the kind referred to in the
        foregoing clauses (i) through (vi); and (viii) any unpaid interest, prepayment penalties, premiums, costs and fees
        that would arise or become due as a result of the prepayment of any of the obligations referred to in the foregoing
        clauses (i) through (vii).

                       (p)     “Indemnified Party” shall mean a Buyer Indemnified Party or a Seller Indemnified Party,
        as the case may be, making a claim for indemnification under Article 6.

                       (q)      “Indemnifying Party” shall mean a Party against whom a claim for indemnification is
        asserted under Article 6.

                          (r)       “Knowledge” shall mean, with respect to the Seller, the actual or constructive knowledge
        of all facts relevant to this transaction and the transacting parties, after due inquiry.

                         (s)    “Law” shall mean any law, statute, ordinance, regulation, rule, code, notice requirement,
        court decision, or agency guideline, of any foreign, federal, state, or local Governmental Body.




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                        (t)       “Liabilities” shall mean any direct or indirect liability, Indebtedness, obligation,
        commitment, expense, claim, deficiency, guaranty, or endorsement of, or by, any Person of any type, known or
        unknown, and whether accrued, absolute, contingent, matured, unmatured, determined or undeterminable, on-
        or off-balance sheet, or other.

                       (u)      “Lien” shall mean any mortgage, pledge, lien, charge, claim, security interest, adverse
        claims of ownership or use, restrictions on transfer, defect of title, or other encumbrance of any sort.

                         (v)      “Losses” shall have the meaning set forth in Section 6.4.

                         (w)      “Notice of Claim” shall have the meaning set forth in Section 6.6(c).

                          (x)   “Organizational Documents” shall mean, with respect to a Person, the charter, bylaws,
        limited liability company agreement, and other organizational documents of such Person, in each case, as
        amended.

                         (y)      “Party” or “Parties” shall have the meaning set forth in the preamble to this Agreement.

                        (z)      “Permitted Liens” shall mean (i) Liens for Taxes not yet delinquent or being contested in
        good faith by appropriate proceedings, (ii) statutory Liens (including materialmen’s, warehousemen’s, mechanic’s,
        repairmen’s, landlord’s, and other similar Liens) arising in the ordinary course of business securing payments not
        yet delinquent or being contested in good faith by appropriate proceedings, and (iii) restrictive covenants,
        easements, and defects, imperfections or irregularities of title, if any, of a nature that do not materially and
        adversely affect the assets or properties subject thereto.

                        (aa)    “Person” shall mean any individual, corporation (including any non-profit corporation),
        general or limited partnership, limited liability company, joint venture, estate, trust, association, organization,
        labor union, Governmental Body, or other entity.




                                                                                                               EXHIBIT 2
                                                                                                                 Page 34
DocuSign Envelope ID: 514FA708-F7CA-4A79-A101-24452F63F052
              Case 8:24-ap-01001-SC            Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59                      Desc
                                               Main Document    Page 35 of 45

                         (bb)     “Purchase Price” shall have the meaning set forth in Section 2.3.

                         (cc)     “Purchased Accounts” shall have the meaning set forth in the Recitals.

                         (dd)      “Seller” shall have the meaning set forth in the preamble to this Agreement.

                         (ee)      “Seller Indemnified Parties” shall have the meaning set forth in Section 6.5.

                        (ff)    “Tax” or “Taxes” shall mean any U.S. federal, state, local or non-U.S. income, gross
        receipts, license, payroll, employment, excise, severance, stamp, occupation, premium, windfall profits,
        environmental, customs duties, capital stock, escheat, franchise, profits, withholding, social security,
        unemployment, disability, real property, personal property, sales, use, transfer, registration, value added,
        alternative or add-on minimum, estimated, or other tax of any kind whatsoever, including any interest, penalty,
        or addition thereto, whether disputed or not.

                       (gg)   “Tax Returns” means any return, declaration, report, claim for refund, or information
        return or statement relating to Taxes, including any schedule or attachment thereto, and including any
        amendment thereof.

                          (hh)    “Third Party” or “Third Parties” shall mean any Person other than the Parties or their
        respective Affiliates.




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                         (ii)     “Third-party Claim” shall have the meaning set forth in Section 6.6(a).

                      (jj)     “Transaction Agreements” shall mean the Bill of Sale and Assignment and Assumption
        Agreement, and each other agreement, instrument, and/or certificate contemplated by this Agreement or such
        other agreements to be executed in connection with the transactions contemplated hereby or thereby.

                         (kk)     “Upfront Cash Payment” shall have the meaning set forth in Section 2.3.

                         (ll)     “Wire Instructions” shall have the meaning set forth in Section 2.3.




                                                                                                               EXHIBIT 2
                                                                                                                 Page 35
DocuSign Envelope ID: 514FA708-F7CA-4A79-A101-24452F63F052
              Case 8:24-ap-01001-SC                Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59              Desc
                                                   Main Document    Page 36 of 45

                                                                  EXHIBIT B

                              FORM OF BILL OF SALE AND ASSIGNMENT AND ASSUMPTION AGREEMENT

                THIS BILL OF SALE AND ASSIGNMENT AND ASSUMPTION AGREEMENT (this “Agreement”), is made by and
        between Buyer, and Seller. Each of the Seller and the Buyer are sometimes referred to herein, individually, as a
        “Party” and, collectively, as the “Parties.”

                 WHEREAS, the Buyer and the Seller have entered into that certain Accounts Receivable Purchase
        Agreement, of even date herewith (the “Purchase Agreement”), pursuant to which the Seller has agreed to sell,
        assign, transfer, and deliver to the Buyer, and the Buyer has agreed to purchase, acquire, and accept from the
        Seller, all right, title, and interest of the Seller in and to the Purchased Accounts, free and clear of any Liens.

                NOW, THEREFORE, in consideration of the covenants and representations set forth herein, and for other
        good and valuable consideration, the receipt and adequacy of which are hereby acknowledged, the Parties,
        intending to be legally bound, agree as follows:

               1.      Defined Terms. Capitalized terms used but not otherwise defined in this Agreement shall have
        the meanings assigned to such terms in the Purchase Agreement.

                2.        Sale of Purchased Accounts; Assignment. The Seller hereby sells, assigns, transfers, and delivers
        to the Buyer, and the Buyer hereby purchases, acquires, and accepts from the Seller, all right, title, and interest




                       VOID
        of the Seller in and to the Purchased Accounts, free and clear of any Liens.

                3.     Further Assurances. Each of the Parties agrees, from time to time, at the request of the any other
        Party, to execute and deliver such other instruments of conveyance, power of attorney, sale, transfer, or
        assignment and take such other actions as such other Party may reasonably request in order to more effectively
        consummate the transactions contemplated by this Agreement.

                4.      Terms of the Purchase Agreement. This Agreement is intended to evidence the consummation of
        the transactions contemplated by the Purchase Agreement and is subject to the terms and conditions set forth in
        the Purchase Agreement. The terms of the Purchase Agreement, including, but not limited to, the
        representations, warranties, covenants, agreements, and indemnities relating to the Purchased Accounts are
        incorporated herein by this reference. The Parties acknowledge and agree that the representations, warranties,
        covenants, agreements, and indemnities contained in the Purchase Agreement shall not be superseded hereby
        but shall remain in full force and effect to the full extent provided therein. In the event of any conflict or
        inconsistency between the terms of the Purchase Agreement and the terms hereof, the terms of the Purchase
        Agreement shall govern.

                5.       Counterparts. This Agreement may be executed in counterparts, each of which shall be deemed
        an original, but all of which together shall be deemed to be one and the same agreement. A signed copy of this
        Agreement delivered by facsimile, electronic mail, or other means of electronic transmission shall be deemed to
        have the same legal effect as delivery of an original signed copy of this Agreement.

                                                 [Remainder of page intentionally left blank.]




        Accounts Receivable Purchase Agreement
        Exhibit B – Bill of Sale
                                                                                                             EXHIBIT 2
                                                                                                               Page 36
DocuSign Envelope ID: 514FA708-F7CA-4A79-A101-24452F63F052
              Case 8:24-ap-01001-SC              Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59             Desc
                                                 Main Document    Page 37 of 45

                  IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date first above written.



                                                             BUYER: The Litigation Practice Group P.C.




                                                             By: _____________________________
                                                                  Name: Daniel S. March
                                                                  Title: Managing Shareholder



                                                             SELLER:

                                                             Leucadia Enterprises, Inc




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                                                             By:
                                                                   Name: Jason Malik
                                                                   Title: Member




        Accounts Receivable Purchase Agreement
                                                                                                          EXHIBIT 2
                                                                                                            Page 37
DocuSign Envelope ID: 514FA708-F7CA-4A79-A101-24452F63F052
              Case 8:24-ap-01001-SC              Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59    Desc
                                                 Main Document    Page 38 of 45


                                                              Schedule 2.3
                                                             Wire Instructions

        $5,106.22

        Account Holder Name: Leucadia Enterprises, Inc

        Address: 126 Hermes Ave Encinitas, CA 92024

        Routing Number:

        Account Number:




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        Accounts Receivable Purchase Agreement
        Schedule 2.3 – Wire Instructions
                                                                                                  EXHIBIT 2
                                                                                                    Page 38
Case 8:24-ap-01001-SC   Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59    Desc
                        Main Document    Page 39 of 45



 1                                   EXHIBIT “3”

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                                                                         EXHIBIT 3
                                                                         Page 39
Case 8:24-ap-01001-SC        Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59                        Desc
                             Main Document    Page 40 of 45


                                                                DINSMORE & SHOHL LLP
                                                                100 West Main Street, Suite 900
                                                                Lexington, Kentucky 40507
                                                                www.dinsmore.com

                                                                Tyler Powell
                                                                (859) 425-1046 (direct) ^ (859) 425-1099 (fax)
                                                                Tyler.powell@dinsmore.com




                                      September 15, 2023

                  CONFIDENTIAL SETTLEMENT COMMUNICATION
                   SUBJECT TO FEDERAL RULE OF EVIDENCE 408

Leucadia Enterprises, Inc.
DBA First Step Debt Resolution
jmalik@firststepdebtresolution.com

       Re:    In re: The Litigation Practice Group, P.C.
              U.S. Bankruptcy Court, Central District of California, Case No. 8:23-bk-10571

Dear Sir/Madam:

       This firm represents Richard A. Marshack, solely in his capacity as Chapter 11 Trustee
(“Trustee”) for the bankruptcy estate of The Litigation Practice Group, P.C. (“Debtor”) in the
above-referenced bankruptcy case. Pursuant to 11 U.S.C. § 1107 and his appointment as Trustee,
the Trustee has the obligation to investigate and pursue claims, including avoidance actions.

        After a review of the Debtor’s books and records, the Trustee believes that he may have
claims against you to avoid and recover certain payments. This letter is written in an attempt to
settle such claims, and its contents may not be used for any other purpose.

        Section 547 of the Bankruptcy Code permits a trustee or debtor-in-possession to avoid
certain payments made to creditors within the 90-day period preceding the filing of a bankruptcy
case. We have completed our preliminary investigation and have identified certain transfers from
the Debtor(s) to you within the 90-day period prior to March 20, 2023, the date upon which the
Debtor filed its bankruptcy case. These transfers are listed on the attached “Preference Transfer
Schedule” showing the date and amount, according to the Debtor’s books and records, of each
transfer or other payment. The payments referenced on the “Preference Transfer Schedule” total $
76,961.27. It appears that these transfers are preferential transfers which can be avoided by the
Trustee and recovered from you pursuant to 11 U.S.C. §§ 547(b) and 550(a). This means that the
Trustee can file suit in the bankruptcy court to recover these sums and object to payment of any
claims you have against the Debtor until the suit is resolved.

        Additionally, if you have filed a proof of claim against the Debtor, that claim may be
disallowed pursuant to Section 502(d) of the Bankruptcy Code for failure to return an avoidable
transfer. This means that if the preference claims against you are not resolved, then you may not



                                                                                                  EXHIBIT 3
                                                                                                  Page 40
Case 8:24-ap-01001-SC          Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59                   Desc
                               Main Document    Page 41 of 45



receive a distribution from the Debtor’s bankruptcy estate. The Trustee reserves the right to object
to any proof of claim that you have filed or may file in the debtors’ bankruptcy cases.




        In the alternative, if you believe a valid defense to recovery exists for some or all of the
transfers from the Debtor, please bring such defenses to our attention and we will assess any
evidence you provide in support of a defense. We have made efforts to analyze your reasonably
known affirmative defenses to the avoidance of the preference payments. Based on our currently
available information and given the nature of your relationship with the Debtor, we do not believe
there are any potential defenses to reduce your liability for the preference payments. There may
be information or facts that we do not have to assess your potential defenses. If you intend to
assert a defense, please provide all documents evidencing any alleged defenses under 11 U.S.C. §
547(c), including, but not limited to, contracts, invoices and any other documentation showing the
date, terms and amounts for the transfers received and any documents evidencing shipment dates
as to goods and services provided by you to the Debtors. To properly assert a defense, such
information must show the date of receipt of the Debtors’ payment and the amount, deposit date,
and any proof of deposit for any or all of the transfers. In addition, if you assert an ordinary course
of business defense, please provide the previous information for the one year period immediately
preceding March of 2023, or for the period that you actually did business with the Debtor, if less
than one year. Please make arrangements to provide any evidence in support of a defense to us as
soon as possible.

        If we have not received any reply to this letter by September 28, 2023, we will proceed to
pursue recovery of the preferential transfers by filing suit against you in the bankruptcy court. The
Trustee also reserves all rights to bring additional claims against you as the investigation into your
relationship with the Debtor continues and/or after discovery begins once a suit is filed.

       Of course, we would be happy to discuss this matter with you or your counsel.




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                                                                                              EXHIBIT 3
                                                                                              Page 43
Case 8:24-ap-01001-SC        Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59            Desc
                             Main Document    Page 42 of 45



The payment proposal set forth above is understood, acknowledged and voluntarily agreed
to. In exchange for a waiver and release from all claims that could be asserted by the Trustee
of The Litigation Practice Group, P.C. pursuant to 11 U.S.C. §§ 547 and 550, I am authorized
to accept this proposal on behalf of Point Break Holdings, LLC. The sum of $__________ is
enclosed. I understand I may amend my claim to include the amount paid as part of my
unsecured claim.




BY:

TITLE:

DATE:

Enclosure




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                                                                                      EXHIBIT 3
                                                                                      Page 42
Case 8:24-ap-01001-SC     Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59          Desc
                          Main Document    Page 43 of 45



           The Litigation Practice Group, P.C. Preference Transfer Schedule

       Vendor Name                         Payment Date      Payment Amount

       Leucadia Enterprises, Inc.          3/17/2023                   $875.43

       Leucadia Enterprises, Inc.          2/27/2023                $21,506.07

       Leucadia Enterprises, Inc.          1/24/2023                $14,511.81

       Leucadia Enterprises, Inc.          1/6/2023                 $17,136.20

       Leucadia Enterprises, Inc.          12/30/2022                $2,558.44

       Leucadia Enterprises, Inc.          12/28/2022               $20,373.32

                                                             Total: $ 76,961.27




                                                                                         EXHIBIT 3
                                                                                         Page 43
Case 8:24-ap-01001-SC   Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59    Desc
                        Main Document    Page 44 of 45



 1                                   EXHIBIT “4”

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                                                                         EXHIBIT 4
                                                                         Page 44
                                       Case 8:24-ap-01001-SC                Doc 1 Filed 01/09/24 Entered 01/09/24 12:30:59                                     Desc
In re: The Litigation Practice Group PC                                           Leucadia Enterprises, Inc.
Disbursement Details by Payee
                                                                            Main Document              Page 45 of 45
90 Days Pre-Petition (12/20/2022 - 03/20/2023)
Bank Name Account Name                           Account Number Statement Date Transaction Date Check Number   Debit/Charge  Memo
                                                                                                                             WT Fed#08821 Bank of America, N /FIr/BnI=Leucadia Enterprises Inc. I#
Wells Fargo Maverick Management Group LLC                            3/31/2023       3/17/2023                        875.43 0000960076856725 Trn#23031 7183048 RIb#
                                                                                                                             WIRE TRANS TRN 0227020620 022723 UBOC UB278478N Sent To: BANK OF
UnionBank    The Litigation Practice Group PC                        2/28/2023       2/27/2023                     21,506.07 AMERICA N.A. Beneficiary: 1/Leucadia Enterprises Inc.
                                                                                                                             Fedwire Debit Via: F121000358)121000358 NC: Leucadia Enterprises, Inc.
                                                                                                                             Encinitas, CA, 92024 US Ret: Weekly Disbursement)Time)15:47 Imed:
Chase        The Litigation Practice Group PC                        1/31/2023       1/24/2023                     14,511.81 012461 Ogc08C032056 Tm: 5652200024Jo
                                                                                                                             Fedwire Debit Via’ Ft2t000356/121000358 NC: Leucedie Enterprises, Inc.
                                                                                                                             Encinitas, CA, 92024 US Ret: Weekly Disbursement/Time/14:47 Imad:
Chase        The Litigation Practice Group PC                        1/31/2023        1/6/2023                     17,136.20 0106B1Ogc06C029339 Tm: 47I6200006Jo
                                                                                                                             Fedwire Debit Vie: F1210003S6/121000358 NC: Leuoedie Enterprises, Inc.
                                                                                                                             Enoinitas, CA, 92024 US Ret: Weekly Disbursement/Time/14:39 Imad: 123DB
Chase        The Litigation Practice Group PC                       12/31/2022      12/30/2022                      2,558.44 1 OgoD8CD67773 Tm: 5574600364Jo
                                                                                                                             Fedwire Debit Vie: F121000358/121000358 NC: Leucedie Enterprises, Inc.
                                                                                                                             Enoinitas, CA, 92024 US Ret: Weekly Disbursement/Time/17:D1 Imad: 1
Chase        The Litigation Practice Group PC                       12/31/2022      12/28/2022                     20,373.32 228B1 QgcD6C02281 7 Tm: 7405700362J0
                                                                                                                   76,961.27




                                                                                  DRAFT FORM - SUBJECT TO CHANGE
                                                                                                                                                                                    EXHIBIT 4
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